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                           Deutsch Rotbart & Associates, P.A.
                                      4755 Technology Way
                                            Suite 106
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Alejandra Ramos & Maria Onelia Maco Castro                                        September 4, 2009
Miami, Florida



                                                                            File #:        268-001
Attention:   Florida Immigration Advocacy Center                            Inv #:            2199

RE:      Ramos & Maco Castro v. Hoyle & Perales


DATE            DESCRIPTION                                      HOURS      AMOUNT       LAWYER

May-12-08       Review and reply to e-mail from J. Hill.           0.40           0.00        EDR
                E-mail changes and finalized document to J.
                Hill.
                Review and revise demand letter to e-mail on       1.00           0.00        EDR
                Maco and Ramos matter.
May-13-08       Demand Letter to Hoyle & Perales.                  0.40           0.00        EDR

                E-Mail to and from J. Hill re demand letter.       0.20           0.00         BIS

May-14-08       Review e-mail from J. Hill re E. Rotbart's         0.10           0.00         BIS
                scheduled meeting.
May-16-08       Meeting at FIAC, including travel time.            3.50           0.00        EDR

May-27-08       E-Mail to and from J. Hill.                        0.20           0.00        EDR

                E-Mail to J. Hill with attachment.                 0.10           0.00        EDR

                Review letter from S. Binhak.                      0.20           0.00        EDR

                Telephone conversation with J. Hill.               0.40           0.00        EDR

                Telephone conversation for Clients with S.         0.60           0.00        EDR
                Binhak and J. Hill. Follow up telephone call
                with J. Hill.
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Jun-02-08    Revise and revise first draft complaint.        2.30   0.00     EDR

             Research on complaint.                          1.40   0.00     EDR

             E-Mail to from L. Baum re form to obtain        0.20   0.00      BIS
             medical release with attachment.
             Review from FIAC intern L. Baum re medical      0.20   0.00      BIS
             records for A. Ramos.
Jun-03-08    E-Mail exchange with L. Baum re medical         0.20   0.00      BIS
             records.
Jun-04-08    Review and revise Draft Complaint.              1.40   0.00     EDR

             E-Mail to and from L. Baum re medical           0.20   0.00      BIS
             records for A. Ramos.
Jun-05-08    E-Mail to and from K. Taustin re medical        0.10   0.00      BIS
             release forms.
Jun-09-08    E-Mail exchange with J. Hill re discovery.      0.30   0.00     EDR

Jun-11-08    Review facsimile from J. Hill re medical        0.20   0.00     EDR
             records.
Jun-12-08    Review e-mail from J. Hill re production.       0.30   0.00     EDR

Jun-13-08    Telephone call to J. Hill re meeting with E.    0.10   0.00      BIS
             Rotbart and D's Motion to Dismiss.
Jun-24-08    Prepare Pleadings: Certificate of Interested    0.30   0.00     EDR
             Persons.
             Prepare Pleadings: Civil Cover Sheet together   0.30   0.00     EDR
             with Subpoenas for Perales and Hoyle.
             Review e-mail from L. Baum re filing of the     0.20   0.00     EDR
             Complaint.
Jun-26-08    Review CM/ECF transmittal re DE 3: Order        0.20   0.00     EDR
             Requiring Parties to meet and File Scheduling
             Report.

Jul-01-08    Review correspondence from S. Binhak.           0.20   0.00     EDR

Jul-07-08    Review e-mail from L. Baum re the filed         0.20   0.00     EDR
             complaint.
Jul-09-08    Review Notice of Court Practices in FLSA        0.20   0.00     EDR
             Cases. (DE 4)
Jul-10-08    E-Mail to L. Baum re the Complaint and          0.20   0.00     DMS
             Notice of Court Practices.
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Jul-14-08    Review e-mail re net payroll chart for the        0.20   0.00   EDR
             Statement of Claim.
             E-Mail to and from L. Baum regarding              0.20   0.00    BIS
             statement of claim.
Jul-21-08    E-Mail exchange with L. Baum re Joint             0.30   0.00   EDR
             Scheduling Report and Proposed Order.
             E-Mail exchange L. Baum re net payroll            0.30   0.00   EDR
             charts.
             Review Ds' Motion to Dismiss Counts I, II, IV     0.30   0.00   EDR
             and V from Ps’ Complaint.
Jul-23-08    E-Mail to L. Baum regarding Motion to             0.20   0.00   DMS
             Dismiss.
Jul-24-08    E-Mail to S. Binhak attaching Court's             0.20   0.00   EDR
             Scheduling Order.
             Prepare Pleadings: Certificate of Interested      0.50   0.00   EDR
             Persons.
             Prepare Pleadings: Ps' Statements of Claims.      0.80   0.00   EDR

             Prepare Pleadings: Ps' Response to Ds'            4.20   0.00   EDR
             Motion to Dismiss including initial research.
             Continued Research on Ds' Motion to Dismiss.      2.30   0.00   EDR

             Telephone conversation for Client with J. Hill.   0.30   0.00   EDR

Jul-25-08    E-Mail exchange with L. Baum re Certificate       0.20   0.00   EDR
             of Interested Persons.
             Telephone conversation for Client with L.         0.40   0.00   EDR
             Baum. Review and reply to e-mail from S.
             Binhak. Forward and send additional reply
             e-mail to J. Hill. Review confirming e-mail
             from S. Binhak. Forward additional e-mail to
             J. Hill.
Jul-28-08    E-Mail and reply e-mail to J. Hill.               0.30   0.00   EDR

             Prepare Notice of Filing Statement of Claims.     0.30   0.00   EDR

             Prepare Pleadings: Continued drafting             3.80   0.00   EDR
             Response to Motion to Dismiss.
             Review e-mail from J. Hill re net payroll         0.10   0.00    BIS
             charts and certificate of interested persons.
Jul-29-08    Prepare Pleadings: Notice of Striking DE 8        0.30   0.00   EDR
Invoice #:  2199                Page 4                            September 4, 2009
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             and Re-filing Ps’ Notice of Filing Statement of
             Claims
             Prepare Pleadings: Notice of Correction of         0.10   0.00   EDR
             Filing.
Jul-31-08    Prepare Pleadings: Ps' Unopposed Motion for        1.00   0.00   EDR
             Extension of Time to Respond to Ds' Motion
             to Dismiss.
             Prepare Pleadings: Unopposed Motion for            3.80   0.00   EDR
             Leave to Amend Complaint and review and
             revise Ps' First Amended Complaint.
             Review Notice of Appearance of S. Binhak,          0.20   0.00   EDR
             and S. Millor.
             Review: e-mail from J. Hill re Amended             0.30   0.00   EDR
             Complaint.
Aug-04-08    E-Mail exchanges with J. Hill re telephone         0.30   0.00   EDR
             conference with S. Binhak.
Aug-05-08    E-Mail to J. Hill re Scheduling report.            0.20   0.00   EDR

             E-Mail and reply e-mail to J. Hill.                0.30   0.00   EDR

             E-Mail exchange with J. Hill re dates and          0.30   0.00   EDR
             telephone conference with S. Binhak.
             Prepare Pleadings: Finish drafting Ps' First       0.70   0.00   EDR
             Amended Complaint.
             Review and revise Scheduling Report and            0.90   0.00   EDR
             Order.
             Teleconference with S. Binhak. Conference          0.70   0.00   EDR
             re: Rule 26 scheduling report and order details.
Aug-06-08    E-Mail to S. Binhak re Joint Scheduling Order.     0.20   0.00   EDR

             E-Mail exchanges with S. Binhak.                   0.20   0.00   EDR

             E-Mail exchange with J. Hill and forwarding        0.40   0.00   EDR
             attachments re the scheduling report.
             Review Omnibus Order.                              0.20   0.00   EDR

Aug-08-08    E-Mail and reply e-mail to S. Binhak re Hoyle.     0.30   0.00   EDR

Aug-10-08    E-Mail and reply e-mail to S. Binhak re Hoyle.     0.30   0.00   EDR
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Aug-11-08    Review e-mail from S. Binhak re Hoyle Joint           0.20   0.00   EDR
             Order.
Aug-13-08    E-Mail exchange with client.                          0.20   0.00   EDR

Aug-14-08    Review: Return of Service Affidavits for              0.30   0.00   EDR
             Perales and Hoyle.
Aug-18-08    Review Ds' Motion to Dismiss Amended                  0.40   0.00   EDR
             Complaint Counts II, IV and V .
Aug-20-08    Review DE 20, Order Setting Civil Trial Date          0.30   0.00   EDR
             and Pretrial Schedule, Requiring Mediation,
             and Referring Certain Motions to Magistrate
             Judge.
             Calendar trial and pretrial schedule dates.           0.40   0.00   BIS

Aug-21-08    Review e-mail from J. Hill.                           0.20   0.00   EDR

Aug-26-08    E-Mail to J. Hill re response to Ds' Motion to        0.20   0.00   EDR
             Dismiss.
Aug-27-08    Review facsimile from M. Gundrum re                   0.30   0.00   EDR
             revision to Motion to Dismiss.
Aug-29-08    Research for Ps' Response to Ds' Motion to            1.90   0.00   EDR
             Dismiss.
Aug-30-08    Prepare Pleadings: Reviw and revise                   3.90   0.00   EDR
             Plaintiffs' Response in Opposition to Motion
             to Dismiss includes additional research and
             editing.
Sep-02-08    E-Mail and reply e-mail to J. Hill and M.             0.30   0.00   EDR
             Gundrum re discovery.
             Prepare Pleadings: Response to Motion to              2.40   0.00   EDR
             Dismiss. Prepare discovery. Review e-mail
             from J. Hill and respond.

             Review and reply to e-mails. Finalize                 3.20   0.00   EDR
             discovery and attach and e-mail to M.
             Gundrum and J. Hill.

             Proof and file Ps' Response in Opposition to          0.20   0.00   BIS
             D's Motion to Dismiss Counts II, IV and V
Sep-03-08    E-Mail to R. Zion regarding follow up.                0.20   0.00   EDR

Sep-04-08    Review J. Hill's e-mail re initial disclosure list.   0.20   0.00   EDR

Sep-05-08    Prepare Pleadings: Ps' revisions to discovery,        3.00   0.00   EDR
             RFP and First Set of Interrogatories to Ds'.
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             Prepare Pleadings: Ps' First Request for       2.80   0.00      EDR
             Production to Defendants.
Sep-08-08    Correspondence to S. Binhak re Ps' Initial     0.40   0.00      EDR
             Disclosures.
             Prepare Pleadings:Ps' Initial Disclosures.     3.50   0.00      EDR

             Review: Ds' Initial Disclosures.               0.50   0.00      EDR

             Document Preparation: Initial Disclosure       1.30   0.00      DMS
             documents includes prepare, photocopy, bate
             stamp and scan.
Sep-09-08    E-Mail to S. Binhak re Initial Disclosures.    0.20   0.00      EDR

             Review:E-mail from J. Hill re response brief   0.30   0.00      EDR
             and Ds' disclosures.
Sep-10-08    Correspondence to S. Binhak re Ps' Initial     0.30   0.00      EDR
             Disclosures.
             Document preparation: General Binder update    0.30   0.00      DMS
             of Ps' and Ds' Initial Disclosures.
Sep-16-08    Review: 9.16.2008 Correspondence from S.       0.40   0.00      EDR
             Binhak re Ds' Initial Disclosures with
             attachments.
             Review: Correspondence from S. Binhak re       0.20   0.00      EDR
             Castro and Ramos tax ID numbers.
Sep-17-08    Review: 9/16/2008 Correspondence from S.       0.20   0.00      EDR
             Binhak re passports.
             Review Ds' First Set of ROGS to Ps'.           0.50   0.00      EDR

Sep-22-08    Document Preparation of Ps' Disclosures        2.00   0.00      DMS
             General Binder.
             Telephone conversation message to M.           0.20   0.00      DMS
             Gundrum re providing Binhak tax ID numbers
             for Ramos and Maco Castro.
Sep-26-08    Review DE 23, Order Requiring Ds to File       0.20   0.00      EDR
             Reply.
Oct-06-08    Correspondence to M. Gundrum and J. Hill re    0.20   0.00      EDR
             Ps' responses.
             Review Ds' Reply in Support of their Motion    0.30   0.00      EDR
             to Dismiss Counts II, IV and V from First
             Amended Complaint.
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Oct-13-08    E-Mail to S. Binhak re: Discovery not             0.20   0.00   EDR
             responded to timely.
             Review and reply to e-mails with J. Hill.         0.50   0.00   EDR

             Telephone conversation with S. Millor re:         0.30   0.00   EDR
             Discovery extension to respond.
Oct-14-08    Prepare Pleadings: Response to Ds' Motion for     1.50   0.00   EDR
             Extension of Time to File Responses to
             Discovery. Includes research of rules and case
             law.
             Prepare Pleadings: Ps' Response in Opposition     3.20   0.00   EDR
             to Ds' Motion for Extension of Time to
             Respond to Discovery. Includes research of
             Federal and Local Rules and case law.

             Research for Ps' Response in Opposition to Ds'    1.20   0.00   EDR
             Motion for Extension of Time to Serve
             Responses and Objections.

             Review Ds' Motion for Extension of Time to        0.40   0.00   EDR
             File Responses to Discovery.
             Review e-mails from J. Hill. Review               1.80   0.00   EDR
             discovery responses from clients. Begin
             conforming same into pleadings to respond to
             Ds' discovery requests.
Oct-15-08    Prepare Pleadings: Revise and revise Ps'          2.50   0.00   EDR
             Response to Ds' first Set of Interrogatories.
Oct-17-08    Review correspondence from S. Millor.             0.20   0.00   EDR

             Review Ds' Responses and Objections to Ps'        0.30   0.00   EDR
             Request for Production.
             Review Ds' Responses and Objections to Ps'        0.30   0.00   EDR
             Interrogatories.
Oct-23-08    Correspondence to S. Binhak.                      0.30   0.00   EDR

             Research for Motion for Protective Order.         1.40   0.00   EDR

Oct-24-08    E-Mail exchanges with J. Hill re the protective   0.30   0.00   EDR
             Order.
             Prepare Motion for Protective Order.              3.50   0.00   EDR

             Telephone conversation with J. Hill re Motion     0.30   0.00   EDR
             for Protective Order.
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Oct-28-08    Review Order Granting Motion for Extension         0.20   0.00   EDR
             of Time.
Nov-03-08    E-Mail to J. Hill re Ds' initial disclosure with   0.20   0.00   BIS
             attachments.
Nov-04-08    Prepare Pleadings: Review and revise Motion        1.50   0.00   EDR
             for Protective Order and Proposed Order.
             E-Mail to M. Gundrum re Ds' initial disclosure     0.20   0.00   BIS
             with attachments.
Nov-06-08    Prepare Pleadings: Ps' Amended Motion for          0.80   0.00   EDR
             Protective Order and Incorporated Memo of
             Law with attachments.

             Review DE 29, Order Denying Motion for             0.20   0.00   EDR
             Protective Order.
             E-Mail to and from J. Hill re meeting.             0.20   0.00   BIS

Nov-12-08    Telephone conversation with J. Hill re Order       0.10   0.00   BIS
             Denying Motion for Protective Order.
Nov-13-08    Review e-mail from S. Millor re responsive         0.20   0.00   EDR
             documents.
Nov-18-08    Review Ds' request for production and 2nd          0.50   0.00   EDR
             Interrogatories.
             Review correspondence from S. Millor re            0.10   0.00   EDR
             discovery documents.
Nov-19-08    Correspondence to S. Binhak re discovery           2.30   0.00   EDR
             documents not produced; includes
             organization of same.
Nov-24-08    Review Ds' Response to Ps' Amended Motion          0.50   0.00   EDR
             for Protective Order.
Nov-25-08    E-Mail exchange with J. Hill & M. Gundrum          0.30   0.00   EDR
             re Motion for Protective Order.
             E-Mail from J. Hill re "one other document".       0.10   0.00   EDR

             E-Mail to J. Hill with attachments.                0.20   0.00   EDR

             Review and reply to e-mails from J. Hill and       0.60   0.00   EDR
             M. Gundrum re ROGS & RFP.
             Review e-mail from J. Hill re responses to the     0.30   0.00   EDR
             request for production and the interrogatories.
Dec-01-08    Research and prepare Reply to Ds' Response to      1.70   0.00   EDR
             Ps' Amended Motion for Protective Order.
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             Photocopying documents, compile and update       1.00   0.00    DMS
             general binder.
             Document preparation: General binder update      0.50   0.00    DMS
             of Supplemental Disclosure by P includes
             prepare, photocopy, bate stamp and scan.

Dec-03-08    Correspondence to S. Binhak.                     0.20   0.00    EDR

             E-Mail to M. Gundrum re Motion for               0.30   0.00     BIS
             Protective Order. Review reply.
             Review from J. Hill re Protective Order with     0.20   0.00     BIS
             attachment.
Dec-04-08    Prepare Pleadings: Conference, research and      2.20   0.00    EDR
             finalize Ps' Reply to Ds' Response to Ps'
             Motion for Protective Order and Incorporated
             Memo of Law.
             Review e-mail from M. Gundrum.                   0.20   0.00    EDR

Dec-08-08    Review DE 33, Notice of Hearing re Amended       0.20   0.00    EDR
             Motion for Protective Order.
Dec-09-08    Review DE 34, Reply to Response to Motion        0.20   0.00    EDR
             re DE 30.
             Review DE 35, Notice of Docket Correction.       0.20   0.00    EDR

             Calls and e-mail to M. Gundrum and J. Hill re    0.40   0.00     BIS
             hearing set by Judge Brown for Dec. 22, 2008
             and their availability to attend.
Dec-10-08    Prepare Pleadings: Notice of Taking              0.20   0.00    EDR
             Deposition of J. Hoyle.
             Prepare Pleadings: Notice of Taking              0.20   0.00    EDR
             Deposition of P. Perales.
             Prepare Pleadings: Review and revise Ps'         0.50   0.00    EDR
             Responses to Ds' Second Set of
             Interrogatories.
             Prepare Pleadings: Review and revise Ps'         2.50   0.00    EDR
             Responses to Ds' First Request for Production.
             Telephone conversations and e-mails with J.      0.30   0.00     BIS
             Hill re responses to discovery.
Dec-11-08    Correspondence to S. Binhak.                     0.80   0.00    EDR

             Review Ds' Notice of Taking Depositions.         0.20   0.00    EDR
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                                               55
               Review e-mail from J. Hill.             0.20       0.00          EDR

             Review e-mail from J. Hill re depositions.        0.20   0.00    BIS

Dec-12-08    Review S. Millor correspondence re                0.20   0.00   EDR
             depositions.
Dec-14-08    E-Mail and reply e-mail to J. Hill re Notice of   0.10   0.00   EDR
             Appearance.
Dec-15-08    E-Mails and reply e-mails to S. Millor re         0.40   0.00   EDR
             scheduling of depositions and Protective
             Order.
             E-Mail exchange with S. Millor re deposition      0.30   0.00   EDR
             date and Protective Order.
             Review e-mail from J. Hill re contract.           0.20   0.00   EDR

             Review e-mails from J. Hill re deposition date    0.20   0.00   EDR
             and conference.
             Review e-mail from J. Hill re depositions.        0.20   0.00   EDR

             Review e-mail re teleconference.                  0.30   0.00   EDR

             Review e-mail from J. Hill.                       0.20   0.00   EDR

             Review Ds'/ Lake Tower Millennium System          0.50   0.00   EDR
             History from Access Cards.
             E-Mails and telephone conversations re            0.70   0.00    BIS
             discovery, deadlines and teleconferences.
             Document Preparation: Update General              0.20   0.00   DMS
             Binder with Ds' Millennium System History
             from Access Cards.

Dec-16-08    Correspondence to S. Binhak.                      0.20   0.00   EDR

             E-Mail and reply e-mail to S. Millor re Motion    0.30   0.00   EDR
             to Continue Trial date and discovery.
             E-Mails and reply e-mails to J. Hill with         0.40   0.00   EDR
             attached Affidavits.
             Prepare Pleadings: Re-Notice of Taking            0.20   0.00   EDR
             Deposition of J. Hoyle.
             Prepare Pleadings: Re-Notice of Taking            0.20   0.00   EDR
             Deposition of P. Perales.
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                                                      55
               Review e-mails from J. Hill re witnesses and 0.20  0.00           BIS
               notice of appearance.
Dec-17-08    E-Mail and reply e-mail to M. Gundrum re       0.20   0.00      EDR
             joint Motion for Extension.
             E-Mail exchanges with M. Gundrum and J.        0.20   0.00      EDR
             Hill re Onelia.
             Review and revise Joint Motion to Continue     0.20   0.00      EDR
             Trial with attachments.
Dec-18-08    E-Mail to S. Binhak re hearing.                0.20   0.00      EDR

             Prepare Pleadings: Notice of Production from   1.50   0.00      EDR
             Non-Party, and Subpoena Duces Tecum with
             Deposition.
             Telephone conversation with J. Hill re         0.20   0.00       BIS
             subpoenas for documents.
Dec-19-08    E-Mail exchanges with J. Hill.                 0.30   0.00      EDR

             E-Mail and reply e-mail to M. Gundrum.         0.20   0.00      EDR

             Review e-mail from M. Gundrum re hearing.      0.20   0.00      EDR

             Review e-mail from J. Hill.                    0.20   0.00      EDR

             Review Notice of Appearance of Counsel by J.   0.20   0.00      EDR
             Hill.
             Review Order Denying Defendants Motion to      0.30   0.00      EDR
             Dismiss Counts II, IV, and V.
             Review DE 39, Paperless Order denying          0.20   0.00      EDR
             Motion to Continue.
             Review e-mail from M. Gundrum regarding        0.20   0.00       BIS
             witnesses.
Dec-22-08    Review e-mails and reply e-mails between S.    0.30   0.00      EDR
             Millor and M. Gundrum re hearing.
             Review Ds' Second RFP of Documents to Ps'.     0.20   0.00      EDR

Dec-23-08    Prepare Pleadings: Review Ps' Trial Witness    0.60   0.00      EDR
             List.
             E-Mails to and from M. Gundrum re witness      0.90   0.00       BIS
             list.
Dec-24-08    Review Ds' Trial Witness List.                 0.30   0.00      EDR
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                                                      55
               Telephone conversation with S. Millor.    0.20     0.00          EDR

Dec-26-08    Review e-mail from S. Millor re Ps'              0.20   0.00    EDR
             depositions.
             Review DE 42, Order Re: Amended Motion           0.20   0.00    EDR
             for Protective Order.
Dec-29-08    Correspondence to S. Binhak re CD produced       0.20   0.00    EDR
             as additional discovery.
             E-Mail and reply e-mail to J. Hill.              0.30   0.00    EDR

             Review e-mails from J. Hill re deposition        0.20   0.00    EDR
             dates.
             Review correspondence from S. Millor.            0.20   0.00    EDR

             E-Mails to and from J. Hill re discovery and     0.40   0.00     BIS
             depositions.
Dec-30-08    E-Mail to S. Millor.                             0.20   0.00    EDR

             E-Mail to J. Hill re discovery with              0.20   0.00    EDR
             attachments.
             Review e-mail from S. Millor with attachment.    0.20   0.00    EDR

             Review correspondence from S. Millor.            0.30   0.00    EDR

             Telephone conversation with process server       0.10   0.00     BIS
             for IBM subpoena.
             Telephone conversation with process server       0.10   0.00     BIS
             for Ocean Club subpoena.
Dec-31-08    E-Mail to J. Hill re Ds' objections to           0.30   0.00     BIS
             subpoenas.
Jan-02-09    Review Ds' Re-Notice of Taking Depositions.      0.20   0.00    EDR

Jan-05-09    E-Mail and reply e-mail to J. Hill re amended    0.30   0.00    EDR
             complaint.
             Review process of service for subpoena to        0.10   0.00    EDR
             Ocean Club.
             Review Notice of Withdrawal and Compliance       0.30   0.00    EDR
             with Magistrate's Order.
             Review Notice of Withdrawal and Compliance       0.20   0.00    EDR
             with Magistrate's Order with attached exhibit.
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                                                     55
               Review Ds' Answer, Defenses, and          0.30     0.00          EDR
               Affirmative Defenses to Ps' First Amended
               Complaint and Counterclaims.
             Review e-mail from J. Hill re Draft Motion to    0.20   0.00    EDR
             Comply with Magistrates Order.
             Review e-mail re viewing the videos.             0.20   0.00    EDR

             Review e-mail from J. Hill to M. Gundrum.        0.20   0.00    EDR

             Review e-mail from J. Hill to S. Millor and S.   0.20   0.00    EDR
             Binhak.
             Telephone conversation for Client with J. Hill   0.80   0.00    EDR
             and M. Gundrum. Follow up call with S.
             Binhak and S. Millor.
             E-Mails and telephone conversations with J.      0.50   0.00     BIS
             Hill re amended complaint.
             Telephone conversation with S. Millor re         0.10   0.00     BIS
             subpoenas.
             Telephone conversation with M. Gundrum re        0.10   0.00     BIS
             subpoenas.
             Telephone conversation with S. Millor's office   0.20   0.00     BIS
             re depositions.
Jan-06-09    E-Mail and reply e-mail to J. Hill re            0.20   0.00    EDR
             depositions.
             E-Mail and reply e-mail to S. Millor re          0.20   0.00    EDR
             deposition translator.
             Review e-mail from J. Hill re meeting.           0.20   0.00    EDR

             Review CF/ECF Transmittal re DE 46, Minute       0.20   0.00    EDR
             Entry for proceedings held before Judge
             Brown.
             Review e-mail from J. Hill re health issues.     0.20   0.00    EDR

             Telephone conversation with S. Millor's office   0.20   0.00     BIS
             re depositions.
Jan-07-09    Correspondence to S. Binhak.                     0.20   0.00    EDR

             Review Ds' Responses of Ps' First Request to     1.80   0.00    EDR
             Produce and prepared correspondence to S.
             Binhak re documents that were not produced.
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                                                      55
               Prepare Pleadings: U.S. District Court    0.30     0.00          EDR
               Subpoena.
             Prepare Pleadings: Subpoena Duces Tecum            0.30   0.00   EDR
             Without Deposition.
             Review e-mail from J. Hill re update note.         0.20   0.00   EDR

             Review e-mail from J. Hill re discovery.           0.30   0.00   EDR

             E-mails and telephone conversations with J.        0.40   0.00   EDR
             Hill re Ds' discovery.
Jan-09-09    Review e-mail from M. Gundrum re                   0.20   0.00   EDR
             Objections to Magistrate Order.
             E-mails and telephone conversation with M.         0.30   0.00   BIS
             Gundrum re objections to magistrate's order.
Jan-12-09    E-Mail and reply e-mail to with S. Millor re       0.30   0.00   EDR
             viewing video.
             Prepare Pleadings: Review and Finalize Ps'         1.00   0.00   EDR
             Objections to Magistrate Order Denying In
             part, Ps' Motion for Protective Order.

             Review e-mail from J. Hill re witness list.        0.20   0.00   EDR

             Review e-mail from T. Galloni re depositions.      0.20   0.00   EDR

             E-Mail to and from J. Hill re objections to        0.30   0.00   BIS
             order on motion for protective order.
Jan-13-09    E-Mail and reply e-mail to J. Hill re discovery.   0.30   0.00   EDR

             E-Mail and reply e-mails to J. Hill re             0.40   0.00   EDR
             Interrogatories and Request for Production.
             Review e-mail from S. Millor re subpoena for       0.20   0.00   EDR
             Cordero deposition.
             E-Mail to J. Hill re binder of documents of        0.20   0.00   BIS
             case.
             E-Mail to and from J. Hill re documents from       0.20   0.00   BIS
             L. Cordero.
             E-mails and telephone conversations with F.        0.40   0.00   BIS
             Fernandez re L. Cordero deposition.
Jan-14-09    Meeting with M. Gundrum and J. Hill re             2.00   0.00   EDR
             depositions.
             Correspondence to S. Binhak.                       2.00   0.00   EDR
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                                                   55
               Prepare Pleadings: Subpoena Duces Tecum 0.30       0.00          EDR
               without Deposition to Lake Tower.
             Review e-mail from S. Millor re viewing           0.20   0.00   EDR
             video.
             Review e-mail from J. Hill re viewing video.      0.20   0.00   EDR

             Review e-mail from S. Millor re viewing           0.10   0.00   EDR
             video.
             Telephone conversation with S. Millor.            0.50   0.00   EDR
             Review e-mail from S. Millor.
             E-Mail to and from J. Hill re documents from      0.20   0.00    BIS
             L. Cordero.
             E-Mail to and from J. Hill re Ps'                 0.30   0.00    BIS
             interrogatories and request for production with
             attachments.

             E-Mail to F. Fernandez re status of L. Cordero    0.20   0.00    BIS
             deposition.
             E-Mail to J. Hill and M. Gundrum re subpoena      0.20   0.00    BIS
             to Lake Tower with attachment.
             E-Mail to J. Hill and M. Gundrum re               0.20   0.00    BIS
             correspondence to S. Binhak with attachment.
             Review e-mail from S. Millor re L. Cordero        0.20   0.00    BIS
             deposition.
             Telephone conversation with F. Fernandez re       0.20   0.00    BIS
             status of L. Cordero deposition.
             Exhibit Photocopies for meeting.                  0.30   0.00   DMS

Jan-15-09    E-Mail and reply e-mail to J. Hill regarding      0.30   0.00   EDR
             Request for Production.
             E-Mail from J. Hill re video.                     0.20   0.00   EDR

             Prepare Ps' Unopposed Motion to Extend            1.00   0.00   EDR
             Discovery and Summary Judgment Pretrial
             Deadlines.
             Review e-mail from J. Hill re viewing video.      0.20   0.00   EDR

             Review e-mail from J. Hill re Interrogatories.    0.20   0.00   EDR

             Review drafted Interrogatories from J Hill.       0.30   0.00   EDR
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     Case 1:08-cv-21809-JEM Document 179-2 Entered on FLSD Docket 09/09/2009 Page 16 of
                                                     55
               Review drafted Request for Production from J 0.30  0.00          EDR
               Hill.
             Review e-mail from S Millor re viewing video.      0.20   0.00   EDR

             Review e-mail from J. Hill re original letter.     0.20   0.00   EDR

             Review S. Millor correspondence.                   0.20   0.00   EDR

             Compile deposition binder and Photocopy            1.70   0.00   DMS
             exhibits.
Jan-16-09    Correspondence to S. Binhak.                       1.20   0.00   EDR

             Preparation for depositions of J. Hoyle and P.     5.40   0.00   EDR
             Perales. Review documents produced and
             mark for copying.

             Prepare Pleadings: Update Subpoena.                0.10   0.00   EDR

             Review correspondence from S. Millor.              0.20   0.00   EDR

             Review e-mail from client re timeline.             0.20   0.00   EDR

             Telephone conversation for Client with J. Hill     0.50   0.00   EDR
             and M. Gundrum. Follow up with BIS with
             further instructions on litigation and
             subpoenas.
             Telephone conversation with Client                 1.20   0.00   EDR
             Correspondence to S. Binhak re: Depositions.
             Preparation of Deposition Exhibit Lists for        4.50   0.00   BIS
             Perales and Holyes.
             Compile and Photocopying of Exhibits for the       3.50   0.00   DMS
             Perales and Hoyles Deposition Binders.
Jan-19-09    Preparation for depositions of P. Perales and J.   5.80   0.00   EDR
             Hoyle.
             Prepare Pleadings: Ps' Unopposed Motion to         1.30   0.00   EDR
             Extend Discovery and Summary Judgment
             Pretrial Deadlines.
             Review e-mails from J. Hill as well as e-mail      0.40   0.00   EDR
             from S. Millor.
             Review e-mail from J. Hill.                        0.10   0.00   EDR

             Review discovery notes.                            0.30   0.00   EDR
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                                                    55
               Review correspondence from S. Millor re 0.20       0.00          EDR
               AT&T subpoena.
             Review AT&T subpoena.                             0.10   0.00   EDR

             Review Affidavit of Service for Cordero.          0.10   0.00   EDR

             E-Mail to J. Hill re Ps' response to Ds' second   0.20   0.00    BIS
             request for production.
Jan-20-09    E-Mail and reply e-mail to J. Hill re             0.30   0.00   EDR
             deposition.
             Preparation for deposition of J. Hoyle.           4.80   0.00   EDR

             Review e-mail from J. Hill re discovery.          0.20   0.00   EDR

             Review drafted Ps' Responses to Third             0.30   0.00   EDR
             Interrogatories.
             E-Mail to telephone calls to J. Hill re Ps'       0.30   0.00    BIS
             response to Ds' second request for production.
             Prepare deposition binders for Hoyle, Perales     4.20   0.00    BIS
             and Cordero
Jan-21-09    Attend deposition of J. Hoyle. Includes post      8.50   0.00   EDR
             deposition meeting with J. Hill and client and
             travel time.
             Prepare Pleadings: Ps' Responses to Ds'           0.50   0.00   EDR
             Second RFP of documents.
             Review e-mail exchange between S. Millor          0.30   0.00   EDR
             and J. Hill re depositions.
             Review e-mail from S. Binhak re deposition.       0.20   0.00   EDR

             Review e-mail from M. Gundrum re discovery        0.20   0.00    BIS
             photos from Plaintiffs.
             Review e-mail from J. Hill re Ps' deposition      0.20   0.00    BIS
             preparation.
             Telephone conversations to reschedule court       0.30   0.00    BIS
             reporter and deposition room for Cordero
             deposition.
Jan-22-09    E-Mail to S. Millor re Selection of a Mediator.   0.20   0.00   EDR

             Prepare Pleadings: Re-Notice of Taking            0.20   0.00   EDR
             Deposition of Perales.
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                                                      55
               Prepare Pleadings: Request for Copies from 0.20    0.00          EDR
               AT&T.
             Review e-mail and drafted Answer to              0.30   0.00    EDR
             Counterclaims.
             E-Mail to J. Hill and M. Gundrum re pleadings    0.20   0.00     BIS
             sent to S. Binhak, with attachments.
             Research locations of Drs. Nearing and           0.30   0.00     BIS
             Guevara.
Jan-23-09    E-Mail and reply e-mail to S. Millor re          0.40   0.00    EDR
             selection of a Mediator.
             Preparation for deposition of P. Perales.        4.60   0.00    EDR

             Prepare Pleadings: Notice of Production From     1.20   0.00    EDR
             Non-Party (Nearing, Guevara, Sanchez)
             Prepare Pleadings: Plaintiff Ramos' Answer       0.80   0.00    EDR
             and Affirmative Defenses.
             Review Order Granting In part and Denying In     0.20   0.00    EDR
             part Ps' Unopposed Motion to Extend
             Discovery and Summary Judgment Pretrial
             Deadlines.
             Review Affidavits of Fazio and Cahua.            0.30   0.00    EDR

             Review e-mail with attached Supplemental         0.50   0.00    EDR
             complaint from J. Hill.
             E-Mail to J. Hill re answer and affirmative      0.20   0.00     BIS
             defenses with attachment.
             E-Mails and telephones conversation with J.      0.40   0.00     BIS
             Hill re supplemental complaint.
             Photocopying exhibits for L. Cordero             0.30   0.00    DMS
             deposition.
Jan-25-09    Preparation for deposition of P. Perales.        4.20   0.00    EDR

Jan-26-09    Take deposition of P. Perales. Includes travel   7.60   0.00    EDR
             time as well as post meetings with J. Hill.
             Review correspondence from G. Mancebo.           0.20   0.00    EDR

             Review and reply to e-mails from S. Millor.      0.40   0.00    EDR
             Review and reply to e-mails from J. Hill.
Jan-27-09    E-Mail to S. Millor re Motion for Court          0.20   0.00    EDR
             appointment of Mediator.
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                                                     55
               Preparation with J. Hill of P Ramos Motion for 2.50 0.00         EDR
               Leave to File Supplemental Complaint
               together with P Ramos' Supplemental
               Complaint.
             Review e-mail from J. Hill.                       0.20   0.00   EDR

             Review Plaintiff, Ramos Motion for Leave to       0.30   0.00   EDR
             File Supplemental Complaint.
             Review e-mail from S. Millor re selection of a    0.10   0.00   EDR
             Mediator.
             Review e-mail from J. Hill re deposition dates.   0.10   0.00   EDR

             Review e-mail from J. Hill re condo records.      0.20   0.00   EDR

             Review e-mail from S. Millor re Joint Motion      0.20   0.00   EDR
             with Attachment.
             Review e-mail from S. Dimond re re-notice of      0.20   0.00   EDR
             Cordero's deposition.
             Review Affidavit of V. Gomez.                     0.20   0.00   EDR

             E-Mail to and from J. Hill re deposition of P     0.20   0.00    BIS
             Maco.
             E-Mail to J. Hill re Motion to Compel             0.20   0.00   DMS
             Discovery.
             Telephone conversation with J. Hill re Motion     0.20   0.00   DMS
             to Compel and deposition dates.
Jan-28-09    Correspondence to S. Binhak.                      0.10   0.00   EDR

             E-Mail and reply e-mail to S. Millor re           0.20   0.00   EDR
             Selection of a Mediator.
             Prepare Pleadings: Re-Notice of Deposition        0.20   0.00   EDR
             (Cordero)
             Research for Motion to Compel Requests of         3.20   0.00   EDR
             Production and Interrogatories.
             Review e-mail from B. McKenzie re Hoyle           0.20   0.00   EDR
             deposition transcript.
             Review Joint Motion for the Court to Appoint      0.20   0.00   EDR
             a Mediator.
             Review e-mails from J. Hill re deposition dates   0.30   0.00   EDR
             and access records.
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                                                     55
               Telephone conversations with G. Mancebo,     0.40  0.00          EDR
               Esq. from Lake Tower re access card records.
             E-Mail to J. Hill and M. Gundrum re                0.20   0.00   BIS
             deposition of Cordero, Esq. with attachment.
             E-Mail to J. Hill with S. Binhak letter            0.20   0.00   BIS
             attached.
             Telephone conversation with F. Fernandez re        0.10   0.00   BIS
             joint motion for Court to appoint a mediator.
Jan-29-09    E-Mail to J. Hill re access records.               0.20   0.00   EDR

             Prepare Pleadings: Notice of Production from       0.30   0.00   EDR
             Non-Party (AT&T Mobility)
             Review e-mail from J. Hill re Hoyle                0.20   0.00   EDR
             deposition.
             Review DE 53, Ds’ Response to Ps' Objections       0.40   0.00   EDR
             to Magistrate Judge’s Order Denying In Part,
             Ps' Motion for Protective Order.
             Telephone conversations with G. Mancebo            0.50   0.00   EDR
             from Lake Tower re access card records.
             E-Mail to S. Binhak & S. Millor re HIPAA           0.20   0.00   BIS
             forms for Hoyle and Perales with attachment.
             Prepare HIPAA forms for Hoyle and Perales.         0.30   0.00   BIS

             Telephone conversation with G. Mancebo             0.20   0.00   BIS
             from Lake Tower re access card records.
             Telephone call to J. Hill re status of documents   0.10   0.00   BIS
             from Lake Tower.
Jan-30-09    E-Mail to J. Hill re Hoyle deposition.             0.20   0.00   EDR

             Prepare Pleadings: Notice of Production from       0.20   0.00   EDR
             Non-Party.
             Prepare Pleadings: Subpoena for AT&T.              0.20   0.00   EDR

             Review Order Granting P Ramos Motion for           0.10   0.00   EDR
             Leave to File Supplemental Complaint.
             Review Order Granting in Part the Parties'         0.10   0.00   EDR
             Joint Motion for the Court to Appoint a
             Mediator and Directing Clerk to Designate a
             Mediator.
             Review Ds’ Response to Ps' Objections to           0.20   0.00   EDR
             Magistrate Judge’s Order Denying In Part, Ps'
             Motion for Protective Order.
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                                            55


             Review correspondence from Department of          0.20   0.00   EDR
             Children and Families.
             Review e-mails from J. Hill re updates and        0.30   0.00   EDR
             discovery.
             Review e-mail from J. Hill re Motion to           0.20   0.00   EDR
             Compel.
             Review Affidavit of J. Sanchez, representative    0.20   0.00   EDR
             from Lake Towers Condo.
             Review Lake Tower Condo documents.                0.40   0.00   EDR

             Review e-mail from J. Hill re discovery issues.   0.30   0.00    BIS

             Telephone conversation with F. Fernandez re       0.10   0.00    BIS
             deposition dates for Plaintiffs.
             Document preparation: Update General              0.40   0.00   DMS
             Binder with Lake Tower includes bate stamp
             and scan of documents.
Feb-01-09    Research for Ps' Motion to Compel Ds'             0.80   0.00   EDR
             Responses to Requests for Production and
             Interrogatories.
Feb-02-09    Prepare Pleadings: Draft Ps' Motion to Comply     4.50   0.00   EDR
             Response to Requests and Interrogatories.


             Review and re-draft Ps' Second Set of             1.50   0.00   EDR
             Interrogatories and Request for Production.
             Review and reply to e-mail from J. Hill.          0.40   0.00   EDR
             Review J. Hill's revisions to Second Set of
             discovery.

             Review all e-mails from J. Hill.                  0.60   0.00   EDR

Feb-03-09    E-Mail and reply e-mail to J. Hill re update.     0.30   0.00   EDR

             E-Mail and reply e-mail to J. Hill re Ps          0.30   0.00   EDR
             depositions.
             E-Mail to B. Shocket re depositions.              0.20   0.00   EDR

             E-Mail and reply e-mail to J. Hill re             0.30   0.00   EDR
             Interrogatory and Request for Production.
             Preparation for deposition of Luis Cordero,       3.50   0.00   EDR
             Esq.
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                                                     55
               Review e-mail from S. Millor re deposition. 0.20   0.00          EDR

             Review e-mail from M. Velis.                        0.20   0.00   EDR

             Compile deposition binder for Cordero.              3.60   0.00   BIS

             E-Mail to and from J. Hill re deposition dates      0.20   0.00   BIS
             for Ps'.
             Telephone conversations with F. Fernandez re        0.30   0.00   BIS
             deposition dates for Ps.
Feb-04-09    Attend deposition of L. Cordero including           4.50   0.00   EDR
             travel time as well as post meeting with J. Hill.
             Prepare Pleadings: Ps' Second Request for           0.50   0.00   EDR
             Production.
             Prepare Pleadings: Ps' Second Set of                0.70   0.00   EDR
             Interrogatories.
             Prepare Pleadings: Review and revise                1.50   0.00   EDR
             (includes research and finalize) Ps' Motion to
             Sever Counterclaims or in the Alternative for
             Separate Trial of Counterclaims.
             Prepare Pleadings: Ps' Motion to Sever              0.40   0.00   EDR
             Counterclaims or in the alternative for separate
             trial of counterclaims. with J. Hill.
             Review Ds’ Re-Notice of Taking Deposition.          0.20   0.00   EDR

             Review Order Affirming Magistrate Judge             0.40   0.00   EDR
             Brown’s Order Re: Amended Motion for
             Protective Order.
             Review Clerk's Notice of Mediator                   0.20   0.00   EDR
             Designation.
             Review e-mail exchange between J. Hill and S.       0.20   0.00   EDR
             Millor.
             E-Mail to J. Hill re L. Cordero deposition          0.20   0.00   BIS
             binder with attachment.
             E-Mail to J. Hill re Ps' depositions with           0.20   0.00   BIS
             attachment.
             E-Mail to J. Hill re Ps' second discovery           0.20   0.00   BIS
             requests with attachments.
Feb-05-09    Prepare Pleadings: Finalize Ps' Motion to           1.00   0.00   EDR
             Compel Responses to Requests of Production
             and Interrogatories.
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                                                    55
               Review S. Millor correspondence with       2.10    0.00          EDR
               attached documents and records produced by
               AT&T.
             Telephone conversation with process server re     0.10   0.00    BIS
             subpoenas for Drs. Nearing and Guevara.
             Telephone conversation with process server re     0.10   0.00    BIS
             subpoena for IBM.
             Telephone conversation with mediator re           0.20   0.00    BIS
             available dates.
             Telephone conversation with F. Fernandez re       0.20   0.00    BIS
             dates of availability for mediation.
             Document Preparation: Update General              0.20   0.00   DMS
             Binder with D's AT&T records b.s.
             00001-000248.
Feb-06-09    Correspondence to S. Binhak re original tapes     0.40   0.00   EDR
             and dates for mediation.
             Prepare Pleadings: Subpoena in a Civil Case       0.30   0.00   EDR
             for IBM Corporation.
             Review e-mails from J. Hill.                      0.20   0.00   EDR

             E-Mail to and from J. Hill re discovery issues.   0.40   0.00    BIS

             E-Mail to J. Hill regarding subpoena to IBM       0.20   0.00    BIS
             with attachment.
             E-Mail to J. Hill and M. Gundrum re               0.20   0.00    BIS
             correspondence to S. Binhak with attachment.
             Telephone conversation with J. Hill re            0.30   0.00    BIS
             discovery issues.
Feb-09-09    Correspondence to S. Binhak.                      0.10   0.00   EDR

             E-Mail to S. Millor re Ramos' deposition.         0.20   0.00   EDR

             Preparation and review of Ps' Responses to        0.30   0.00   EDR
             Ds' Second Set of Interrogatories to Ps.
             Review Affidavit of Vilma Gomez.                  0.30   0.00   EDR

             Review Return of Service for Julio Sanchez.       0.10   0.00   EDR

             Review of J. Hill's correspondence together       0.40   0.00   EDR
             with Ps Supplemental Response to Ds First Set
             of Interrogatories.
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                                                    55
               Review e-mail from S. Millor re Maco    0.20       0.00          EDR
               deposition dates.
             Review e-mails from J. Hill.                     0.30   0.00    EDR

             E-Mail to J. Hill and M. Gundrum re letter to    0.10   0.00     BIS
             S. Binhak with attachment.
             Review e-mail from J. Hill re certification of   0.20   0.00     BIS
             translator.
             Telephone conversation with J. Hill re           0.20   0.00     BIS
             supplemental discovery.
Feb-10-09    Review Ds’ Motion to Dismiss Ramos'              0.30   0.00    EDR
             Supplemental Complaint.
Feb-11-09    Review Police Department Reports.                0.20   0.00    EDR

             E-Mail to S. Binhak and S. Mallor re available   0.20   0.00     BIS
             deposition dates.
             Document preparation: Update General             0.20   0.00    DMS
             Binder with police reports.
Feb-12-09    E-Mail to J. Hill re change of address.          0.20   0.00    EDR

             Review Ds' Re-Notice of Taking Deposition -      0.10   0.00    EDR
             Maco Castro
             Review Ds’ Motion to Accept Late Filing of       0.20   0.00    EDR
             Motion to Dismiss Ramos' Supplemental
             Complaint.
             Review Ds' Motion to Dismiss P Ramos             0.40   0.00    EDR
             Supplemental Complaint.
             Review Ps' Subpoena Duces Tecum Without          0.20   0.00    EDR
             Deposition - IBM (corrected).
             Review Ps' Subpoena Duces Tecum Without          0.20   0.00    EDR
             Deposition - St. Christopher School.
             E-Mail and reply e-mail to S. Millor re          0.40   0.00     BIS
             mediation.
             Telephone conversation with S. Millor re         0.10   0.00     BIS
             HIPAA authorization forms.
             Telephone conversation with Dr. Guevara's        0.10   0.00     BIS
             office re subpoenaed documents.
             Telephone conversation with mediator.            0.10   0.00     BIS

Feb-13-09    Review and revise Ps' Motion for Leave to        0.30   0.00    EDR
             Designate and File Reports of Expert
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                                                     55
               Witnesses on Counterclaim outside of the
               Time Limit Set Forth in the Court’s
               Scheduling Order with J. Hill.
             Review e-mail from S. Millor re Motion to        0.20   0.00    EDR
             Designate.
             Review e-mails from J. Hill re experts.          0.30   0.00    EDR

             Review e-mail from M. Gundrum re Campo.          0.20   0.00    EDR

             Review S. Millor's e-mail re mediation. Reply    0.30   0.00    EDR
             to same.
             E-Mail to J. Hill, M. Gundrum, S. Binhak and     0.20   0.00     BIS
             S. Millor re mediation scheduled for March 3,
             2009.
             E-Mail to S. Millor re having mediation at       0.20   0.00     BIS
             mutually acceptable place in Miami.
Feb-16-09    Prepare Pleadings: Motion to Extend              3.20   0.00    EDR
             Discovery Deadline.
             Review correspondence together with IBM          0.30   0.00    EDR
             Subpoena Duces Tecum for IBM and St.
             Christopher's School.
             Review e-mail from Official Reporting.           0.20   0.00    EDR

             Telephone conversation with mediator.            0.20   0.00     BIS

Feb-17-09    Prepare Pleadings: Review and revised            2.90   0.00    EDR
             Motion to Strike in Opposition to Motion to
             Dismiss. Includes research and drafting time.
             Review e-mail from M. Gundrum re notice.         0.20   0.00    EDR

             Review e-mail from J. Hill and M. Gundrum        0.20   0.00    EDR
             re photocopies.
             E-Mail to J. Hill and M. Gundrum re filing       0.20   0.00     BIS
             deadlines.
Feb-18-09    Attend deposition of Maco-Castro. Includes       8.90   0.00    EDR
             travel time. Includes post deposition meetings
             with client and travel time.
             Review and finalize Notice Pursuant to           0.30   0.00    EDR
             Scheduling Order of all Unresolved Discovery
             Motions with J Hill.

Feb-19-09    Review correspondence from S. Dimond, Esq.       0.20   0.00    EDR
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                                                    55
               Review Ds' Motion for Protective Order. 0.50       0.00          EDR

             Review e-mail from S. Millor re video tapes.    0.10   0.00     EDR

             Review e-mail exchange between M. Gundrum       0.20   0.00     EDR
             and J. Hill.
             E-Mail from Official Reporting.                 0.20   0.00      BIS

             E-Mail to J. Hill and M. Gundrum re Notice of   0.20   0.00      BIS
             Mediation.
Feb-20-09    Attend deposition of A. Ramos. Includes pre     9.00   0.00     EDR
             and post meetings with J. Hill and client and
             travel time.

             Prepare Pleadings: Motion for Extension of      4.00   0.00     EDR
             Discovery Deadline and Motion to Strike
             Defendant's Late Filing of Motion to Dismiss.
Feb-21-09    Review Affidavit of D. Moreaux Moquete.         0.20   0.00     EDR

Feb-22-09    Review e-mails from J. Hill re Motion to        0.30   0.00     EDR
             Dismiss and response to Motion to Quash.
Feb-23-09    E-Mail to S. Millor re attachments.             0.40   0.00     EDR

             E-Mail and reply e-mail to L. Bohannon re       0.20   0.00     EDR
             Castro deposition.
             E-Mail and reply e-mail to J. Hill.             0.20   0.00     EDR

             E-Mail to J. Hill re Interrogatories.           0.20   0.00     EDR

             Prepare Pleadings: Finalize Motion to Extend    0.50   0.00     EDR
             Discovery deadline.
             Prepare Pleadings; Finalize Motion in           1.50   0.00     EDR
             Opposition to Ds' Late Filing of Motion to
             Dismiss.

             Review Ds' Motion for Protective Order with     1.00   0.00     EDR
             attachments.
             Review e-mail from S. Millor.                   0.20   0.00     EDR

             Review and saved attachments of a ten part      0.50   0.00     EDR
             e-mail from S. Millor.
             Review reply e-mail from S. Millor.             0.20   0.00     EDR
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                                                     55
               Review Ds' Motion for an Extension to File 0.30    0.00          EDR
               their Motion for Summary Judgment.
             Review Ds' Response in Opposition to Ps’          0.30   0.00   EDR
             Motion to Sever Counterclaims.
             Review Ds' Response in Ps’ Motion to              0.30   0.00   EDR
             Compel.
             Review Ds' Motion to Compel Production of         0.50   0.00   EDR
             Documents, Responsive to Ds' First Request
             For Production # 6,18,19 and 20 and a
             complete answer to Interrogatory # 4.
             Review Omnibus Order.                             0.30   0.00   EDR

             Review e-mail from J. Hill regarding Motion       0.20   0.00   EDR
             to Dismiss.
             Review Affidavit of Isabel Sotomayor.             0.20   0.00   EDR

             Review Ds' production of documents bates          0.40   0.00   EDR
             stamped HOYLE 000084-000374.
             Review Ds' Amended Responses and                  0.30   0.00   EDR
             Objections to Ps' First RFP No 7,8,11,27,29
             and 33.

             Review Ds' Amended Response and                   0.30   0.00   EDR
             Objections to Ps' First Set of ROGS No 11.
             Telephone conversation for Client with J. Hill.   0.40   0.00   EDR
             Finalize Motion to Dismiss revisions.
             E-Mail to and from J. Hill re notice of           0.20   0.00    BIS
             mediation.
             E-Mail to J. Hill and M. Gundrum re Notice of     0.20   0.00    BIS
             Mediation.
             E-Mail to J. Hill re subpoena of Dr. Nearing      0.20   0.00    BIS
             with attachment.
             Document Preparation: Update General              0.20   0.00   DMS
             Binder with Ds' additional documents
             produced.

Feb-24-09    E-Mail to J. Hill re Ramos' deposition.           0.20   0.00   EDR

             Prepare Pleadings: Notice of Mediation.           0.20   0.00   EDR

             Review Affidavit of Service.                      0.10   0.00   EDR

             Review correspondence from S. Millor.             0.20   0.00   EDR
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                                                   55
               Review DVD provided by S. Millor, Esq.  1.00       0.00          EDR

             Review pictures produced by D labeled            0.20   0.00    EDR
             HOYLE 390-409.
             Review DE 74, Clerks Notice of Docket            0.20   0.00    EDR
             Correction.
             Document Preparation: Update General             0.20   0.00    DMS
             Binder with Ds' production labeled as HOYLE
             390-409.

Feb-25-09    Review e-mail from M Gundrum re                  0.20   0.00    EDR
             psychological evaluations.
             E-Mail to J. Hill and M. Gundrum re Ps'          0.20   0.00     BIS
             response to Ds' Motion to Dismiss and also
             discovery deadlines.
             Telephone conversation with and e-mail to J.     0.20   0.00     BIS
             Hill re deadlines per the Omnibus Order.
             Telephone conversation with and e-mail to        0.20   0.00     BIS
             mediator re place and time of mediation with
             attachment.

Feb-26-09    E-Mail exchange S. Millor re documents and       0.30   0.00    EDR
             interrogatories.
             Review Order denying Ds' Motion to Compel.       0.20   0.00    EDR

             Review correspondence from S. Millor.            0.20   0.00    EDR

             E-Mail to J. Hill re Ds' Motion for Protective   0.10   0.00     BIS
             Order.
Feb-27-09    E-Mail exchange with J. Hill re Motion to        0.30   0.00    EDR
             Quash.
             Review and finalize with J. Hill Ps’ Response    0.20   0.00    EDR
             to Ds’ Motion to Dismiss Ps’ Supplemental
             Complaint Alleging Retaliation Under FLSA.
             Review e-mail from S. Millor re mediation.       0.10   0.00    EDR

             Review e-mail from S. Millor.                    0.20   0.00    EDR

             Telephone conversations with J. Hill re          0.20   0.00     BIS
             mediation and discovery documents.
Mar-02-09    Research for Ps' Response in Opposition to Ds'   1.30   0.00    EDR
             Motion to Quash Subpoenas.
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                                                     55
               Review Order retting Calendar Call and Trial 0.20  0.00          EDR
               Date.
             Review e-mails from S. Binhak.                   0.20   0.00    EDR

             Telephone conversation with G. Mancebo re        0.10   0.00     BIS
             status of sign in sheet records from Lake
             Tower.
             Telephone conversation with J. Soto re status    0.10   0.00     BIS
             of tapes sent.
             Telephone conversation with J. Hill re           0.20   0.00     BIS
             mediation and discovery.
             Telephone conversation with G. Mancebo re        0.20   0.00     BIS
             sign-in records at Lake Tower.
             Telephone conversations with J. Soto's office    0.20   0.00     BIS
             re tapes.
             Telephone conversation with J. Hill re sign-in   0.10   0.00     BIS
             records at Lake Tower and mediation.
Mar-03-09    E-Mail to J. Hill re Response to Motion to       0.20   0.00    EDR
             Quash.
             Prepare Pleadings: Notice of Production from     0.20   0.00    EDR
             Non-Party.
             Prepare Pleadings: Subpoena for Herman           0.20   0.00    EDR
             Guerrero.
             Prepare Pleadings: Response in Opposition to     6.00   0.00    EDR
             Ds' Motion to Quash includes research.
             Review e-mail from J. Hill re motion to quash.   0.20   0.00    EDR

             Telephone conversation for Client with R.        0.40   0.00    EDR
             DeClerk of IBM.
             E-Mail to process server re Dr. Nearing.         0.10   0.00     BIS

             E-Mail to and from J. Hill re AT&T telephone     0.20   0.00     BIS
             records.
             E-Mail to and from J. Hill re Lake Tower         0.20   0.00     BIS
             sign-in sheets.
             E-Mail to and from J. Hill re map key to         0.20   0.00     BIS
             access records at Lake Tower.
             Review e-mail from J. Hill re Dr. Nearing.       0.10   0.00     BIS

             Telephone conversations with AT&T re             0.20   0.00     BIS
             subpoena.
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                                                     55
               Telephone conversation with process server re 0.10 0.00           BIS
               subpoena to Lake Villas.
             Review DVD numbered 5.                           2.20   0.00    DMS

Mar-04-09    E-Mail to S. Millor re discovery.                0.20   0.00    EDR

             Research for Ps' Reply to Ds' Response to Ps'    0.50   0.00    EDR
             Motion to Compel.
             Review e-mail from S. Millor re discovery        0.20   0.00    EDR
             responses.
             Review e-mail from J. Hill re cell phone         0.20   0.00    EDR
             records.
             Review e-mail from M. Gundrum re Motion to       0.20   0.00    EDR
             Quash.
             Review Supplemental disclosure from Lake         0.20   0.00    EDR
             Tower.
             Document preparation: Update General             0.40   0.00    DMS
             Binder with Lake Tower Supplemental
             Disclosure includes bate stamp and scan.

             Review DVD numbered 6 and 7.                     3.80   0.00    DMS

Mar-05-09    Prepare, scan / bates stamp records from Lake    0.50   0.00    EDR
             Tower Condo.
             E-Mail to J Hill re reply to Motion to Compel.   0.20   0.00    EDR

             Prepare Pleadings: Review and revise Reply in    2.30   0.00    EDR
             Opposition to Ps' Motion to Compel.
             Review e-mail from S. Millor. Review Order       0.30   0.00    EDR
             on Ps' Motion to Compel.
             Review e-mail from J. Hill re process server.    0.20   0.00    EDR

             Telephone calls and e-mails to J. Hill and M.    0.20   0.00     BIS
             Gundrum re Ps' Reply to Ds' Response to Ps'
             Motion to Compel.

             Prepare, scan / bates stamp Defendants' AT&T     0.70   0.00    DMS
             records.
             Prepare, scan and bates stamp exhibits for       0.50   0.00    DMS
             AT&T and Lake Tower.
             Review DVD #9.                                   1.80   0.00    DMS
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                                                   55
Mar-06-09      E-Mail to J. Hill and M. Gundrum re     0.20       0.00          EDR
               discovery.
             Review Order re Ps' Motion to Compel.            0.20   0.00    EDR

             Review e-mail from S. Millor.                    0.20   0.00    EDR

Mar-08-09    Review e-mail from J. Hill re discovery.         0.20   0.00    EDR

Mar-09-09    E-Mail exchange with S. Millor re                0.30   0.00    EDR
             Confidentiality Agreement.
             Review DVD #10.                                  1.70   0.00    DMS

Mar-10-09    E-Mail exchange with J. Hill re Amending         0.30   0.00    EDR
             Responses to discovery.
             Prepare Pleadings: Draft/Amend Ps' Amending      0.30   0.00    EDR
             Responses to Discovery.
             Review Return of Service for H. Guerrero.        0.20   0.00    EDR

             Telephone conversation for Client with J. Hill   0.50   0.00    EDR
             to discuss strategies and responsibilities
             divided.

             Review and reply to e-mail from J. Hill re       0.10   0.00     BIS
             subpoena of Dr. Umbel.
Mar-11-09    E-Mail to S. Millor re confidentiality           0.20   0.00    EDR
             agreement.
             Review e-mail from J. Hill re amended version    0.20   0.00    EDR
             for discovery responses.
Mar-12-09    Review Ds' Responses and Objections to Ps'       0.40   0.00    EDR
             Second Request for Production and Ds'
             Responses and Objections to Ps' Second Set of
             Interrogatories.
             Review Ds' Motion to Compel. Telephone call      0.60   0.00    EDR
             with J. Hill.
             Review Ds’ Amended Motion to Compel (1)          0.40   0.00    EDR
             Production of Documents Responsive to
             Defendants’ REQUEST FOR PRODUCTION
             # 6,18,19, and 20; and (2) a complete answer
             to Interrogatory #4 with six attachments.
             Review Ds' Third Requests for Production of      0.20   0.00    EDR
             Documents to Ps'.
             Telephone conversation for Client with G.        0.20   0.00    EDR
             Mancebo re: Building logs and legends for
             access information.
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Mar-13-09    E-Mail exchanges with S. Millor and J. Hill re   0.30   0.00    EDR
             reschedule mediation.
             Review Affidavit of Return of Service.           0.20   0.00    EDR

             Review Re-Notice of Mediation.                   0.20   0.00    EDR

             Review e-mail from J. Hill.                      0.20   0.00    EDR

             Review e-mails from J. Hill re subpoenas of      0.20   0.00     BIS
             Drs. Nearing and Umbel.
Mar-16-09    Review Ds' Objection to Magistrate Judge's       0.70   0.00    EDR
             Order Re Ps' Motion to Compel.
             Telephone conversations with J. Hill re          0.30   0.00     BIS
             subpoenas and mediation.
Mar-17-09    E-Mail exchange with J. Hill re Dr. Umbel.       0.20   0.00    EDR

             Review e-mail from J. Hill re RFP/discovery.     0.20   0.00    EDR

             Review Ps' subpoena documents from AT&T.         0.60   0.00    EDR

Mar-18-09    E-Mail exchange with S. Millor re RFP #11.       0.30   0.00    EDR

             Review I. Machado for Lake Villa                 0.20   0.00    EDR
             Condominium correspondence.
             E-Mail to and from J. Hill re discovery          0.20   0.00     BIS
             requests.
Mar-19-09    Review Affidavit of Service for H. Guerrero.     0.20   0.00    EDR

             Review correspondence from S. Millor re          0.20   0.00    EDR
             response to Request number 11 of Ps' First
             Request for Production and review documents
             related to same.
             Telephone conversation with Y. Machado re:       0.40   0.00    EDR
             Lake Villa Condo Association. Telephone
             conversation with G. Mancebo re: Follow up
             as to Ocean Club Condo Assoc. documents to
             be produced.
             Telephone conversation with J. Hill re status    0.10   0.00     BIS
             of Nearing deposition.
Mar-20-09    E-Mail exchange with J. Hill re logs.            0.20   0.00    EDR
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                                                    55
               Review hearing notice [DE-84] on motion for 0.20   0.00          EDR
               protective order.
             Review Order Affirming Magistrate Judge          0.20   0.00    EDR
             Brown’s Order re Ps’ Motion to Compel.
             Review e-mail from J. Hill re M. Nearing.        0.20   0.00    EDR

             Review e-mail from L. Tower with                 0.50   0.00    EDR
             attachments.
             Telephone conversations with K. Dobies,          0.30   0.00     BIS
             Court Reporter, Official Reporting Service and
             J. Hill re deposition of Dr. Nearing.
Mar-21-09    E-Mail exchanges with J. Hill re discovery.      0.20   0.00    EDR

Mar-23-09    E-Mail exchanges with J. Hill re Nearing         0.20   0.00    EDR
             deposition.
             Review e-mail from J. Hill re confidentiality    0.20   0.00    EDR
             agreement.
Mar-24-09    E-Mail exchanges with J. Hill.                   0.20   0.00    EDR

Mar-25-09    Review Ds’ Motion for the Entry of a             0.30   0.00    EDR
             Confidentiality Order.
             Review e-mail from J. Hill regarding notes.      0.20   0.00    EDR

             Review e-mails from S. Millor                    0.30   0.00    EDR

             Review correspondence together with bates        1.00   0.00    EDR
             stamped documents stamped HOYLE
             00410-00690.

             Review Ds' Tax Returns.                          0.50   0.00    EDR

             Review e-mail from J. Hill re L. Cordero         0.20   0.00     BIS
             deposition.
             Document Preparation; Update General             0.60   0.00    DMS
             Binder with document production which was
             photocopy, scan and b.s. #'s 000506-000690.

Mar-26-09    E-Mails to and from J. Hill re subpoenas and     0.40   0.00     BIS
             Judge's ruling.
             Telephone call to G. Mancebo re subpoenaed       0.10   0.00     BIS
             Lake Tower documents.
Mar-27-09    Correspondence to G. Mancebo re subpoenaed       0.20   0.00    EDR
             documents.
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                                                      55
               Prepare Pleadings: Ps' Response to Ds' Motion 1.00 0.00          EDR
               to Compel.
             Prepare Pleadings: Review and revise Ps'          0.70   0.00   EDR
             Motion to Extend Time for Experts' Reports.
             Review e-mail from J. Hill re request for         0.30   0.00   EDR
             production.
             Telephone conversation and e-mail with            0.40   0.00    BIS
             attachment to J. Hill regarding Ds' discovery
             documents and Ps' subpoenaed documents.
Mar-28-09    Review e-mail from J. Hill re Nearing.            0.10   0.00   EDR

Mar-29-09    Review e-mail from J. Hill re response to         0.20   0.00   EDR
             motion for confidentiality agreement.
Mar-30-09    E-Mail to and reply from S. Millor re HIPPA       0.20   0.00   EDR
             releases.
             Prepare Pleadings: Draft Ps' Trial Witness List   0.50   0.00   EDR
             with J. Hill and M. Gundrum.
             Review Order for Protective Order.                0.20   0.00   EDR

             Review Order Granting Motion for                  0.20   0.00   EDR
             Confidentiality Order.
             Review e-mail from J. Hill re motion to           0.10   0.00   EDR
             compel.
             E-Mail and telephone conversation with R.         0.20   0.00    BIS
             DeClerk from IBM re Court ordered discovery
             documents.

Mar-31-09    Draft Second Motion to Compel Discovery           4.00   0.00   EDR
             from Defendants.
             E-Mail exchanges with S. Millor re Motion to      0.20   0.00   EDR
             Compel.
             E-Mail exchange with M. Nearing.                  0.30   0.00   EDR

             Prepare Pleadings: Ps' Amended Trial Witness      0.30   0.00   EDR
             List.
             Prepare Pleadings: Confidentiality Agreement      1.80   0.00   EDR
             including research regarding same.
             Review Defendants' Trial Witness List.            0.20   0.00   EDR

             Review Affidavit of J. Sanchez and Gate           0.30   0.00   EDR
             Access legend.
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                                              55
               Review e-mail from G. Mancebo.          0.20       0.00          EDR

             Telephone conversation for Client with M.       0.40   0.00     EDR
             Nearing. Follow up e-mails with M. Nearing.
             E-Mails and telephone calls to J. Hill and M.   0.40   0.00      BIS
             Gundrum re Nearing subpoena and deposition
             and other discovery documents.
Apr-01-09    Prepare Pleadings: Notice of Filing Proposed    0.20   0.00     EDR
             Order Granting Ps' Motion to Extend Time.
             Review e-mail from S. Millor re Motion to       0.20   0.00     EDR
             Compel.
Apr-02-09    E-Mail exchange with M. Nearing.                0.30   0.00     EDR

             Telephone conversation for Client with S.       0.50   0.00     EDR
             Millor re: Motion to Compel #2.
Apr-03-09    Correspondence to S. Millor.                    0.20   0.00     EDR

             Review Paperless Order re Motion for            0.20   0.00     EDR
             Extension of Time.
             Review e-mail from F. Fernandez re executed     0.10   0.00      BIS
             HIPAA forms with attachments.
Apr-06-09    E-Mail to M. Nearing re HIPPA release.          0.20   0.00     EDR

             E-Mail exchanges with J. Hill and M.            0.30   0.00     EDR
             Gundrum re Second Motion to Compel.
             Prepare Pleadings: Notice of Taking             0.20   0.00     EDR
             Deposition Duces Tecum: Dr. Nearing.
             Review Order Denying Amended Motion to          0.20   0.00     EDR
             Compel.
             Review Supplemental Order Granting Motion       0.20   0.00     EDR
             for Confidentiality Order.
             Review CM/ECF transmittal re Minute Entry       0.10   0.00     EDR
             for proceedings held before Magistrate Brown.
             Review e-mail from S. Millor re Nearing         0.20   0.00     EDR
             deposition. Reply to same.
             Telephone conversations with Nancy in Dr.       0.30   0.00      BIS
             Guevara's office regarding HIPAA forms,
             payment for records and release of documents.
Apr-07-09    E-Mail exchange with J. Hill re legends.        0.30   0.00     EDR
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                                                     55
               Review e-mail from J. Hill re Nearing    0.20      0.00          EDR
               deposition.
             Review e-mail from S. Millor.                     0.20   0.00   EDR

             Telephone conversation for Client with J. Hill.   0.80   0.00   EDR
             Discuss case strategies and status of various
             orders.
             Telephone conversation with J. Hill re            0.80   0.00   EDR
             discovery documents and motion to compel.
             E-Mail to and from J. Hill re subpoenaed          0.20   0.00    BIS
             documents.
             Telephone conversation with F. Fernandez re       0.10   0.00    BIS
             deposition duces tecum of Dr. Nearing.
Apr-08-09    E-Mail to J. Hill re IBM production with          0.20   0.00   EDR
             attachment.
             Review Ds' Supplemental Confidential              0.50   0.00   EDR
             Production to Ps' Request For Production.
             Review documents provided by IBM through          2.20   0.00   EDR
             subpoena. Review documents provided by S.
             Millor re: Additional production. E-mails to
             J. Hill.
             Review Ds' T Mobile records and Dr. Umbel's       0.40   0.00   EDR
             documents.
             Include Ds' supplemental production in            0.30   0.00    BIS
             General Binder.
             Review e-mail from R. DeClerk re IBM              0.20   0.00    BIS
             documents related to Ps' subpoena.
             Document Preparation: Update General              0.30   0.00   DMS
             Binder with b.s. 000691-732.
Apr-09-09    Review Ds' Objections to Magistrate Judge's       0.20   0.00   EDR
             Order Denying Amended Motion to Compel.
             Review e-mails from J. Hill re Motion to          0.30   0.00   EDR
             Compel.
Apr-10-09    Review correspondence together with               0.40   0.00   EDR
             attachments re IBM documents.
             Review S. Millor correspondence.                  0.20   0.00   EDR

             Review M. Nearing correspondence together         0.50   0.00   EDR
             with attachments regarding Dr. G. Nearing's
             responsive documents to Subpoena Duces
             Tecum.
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                                                       55
               Review e-mail from J. Hill re revisions with 0.40  0.00          EDR
               attachment.
             Telephone conversation with J. Hill and           0.30   0.00    BIS
             review of e-mail re discovery documents.
Apr-11-09    Review e-mail from J. Hill.                       0.20   0.00   EDR

Apr-12-09    Telephone conversation with J. Hill regarding     0.30   0.00   EDR
             Ps' Responses to Ds' Third Request for
             Production of Documents. Review of said
             pleading.
Apr-13-09    E-Mail to J. Hill re Motion to Compel with        0.20   0.00   EDR
             attachment.
             E-Mail exchange with J. Hill re confidentiality   0.30   0.00   EDR
             order.
             Prepare Pleadings: Ps' Responses to Ds' 3rd       1.20   0.00   EDR
             Request for Production of Documents with
             preparation of exhibits.

             Research for Ps' Motion for Reconsideration of    0.90   0.00   EDR
             Magistrate Judge's order Granting Ds' Motion
             for Protective Order.
             Review and revise Motion to Compel (2).           2.30   0.00   EDR
             E-mails to J. Hill. Review Nearing and
             Guevara's notes.
             Review exchange with J. Hill re Motion to         0.30   0.00   EDR
             Compel.
             Review e-mail from J. Hill re Guevara.            0.10   0.00   EDR

             E-Mails to J. Hill re Dr. Nearing documents.      0.20   0.00    BIS

             E-Mails to J. Hill re discovery and Ps'           0.70   0.00    BIS
             responses to Third Request for Production
             with attachments.
Apr-14-09    Correspondence to S. Binhak.                      0.20   0.00   EDR

             Prepare Pleadings: Request for Copies.            0.20   0.00   EDR

             Prepare Pleadings: Review and revise Ps’          2.40   0.00   EDR
             Motion for Reconsideration of the Magistrate
             Judge’s Order Granting Ds’ Motion for
             Protective Order with Incorporated
             Memorandum of Law.
             Prepare Pleadings: Notice Pursuant to             1.00   0.00   EDR
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                                                    55
               Scheduling Order of All Unresolved Discovery
               Motions.
             Review e-mil from J. Hill re                      0.20   0.00   EDR
             confidentiality-related issues.
             Review e-mail from B. Shocket to J. Hill and      0.10   0.00   EDR
             M. Gundrum re Letter to Binhak and Request
             for Copies
             E-Mail to J. Hill and M. Gundrum re               0.20   0.00    BIS
             correspondence to S. Binhak and Ps' Request
             for Copies with attachments.
Apr-16-09    E-Mail to M. Nearing. Review reply to same.       0.20   0.00   EDR

             E-Mails to and from J. Hill re discovery.         0.30   0.00    BIS

             E-Mail to J. Hill and M. Gundrum re deadlines     0.10   0.00    BIS
             for Ps’ Response to Ds' Amended Motion to
             Compel and witness lists.

Apr-17-09    Prepare Pleadings: Prepare, and research Ps’      2.20   0.00   EDR
             Emergency Motion to Compel Dr. Nearing’s
             Deposition and to Extend the Deadline for
             Discovery and Dispositive Motion with
             Memorandum of Law Incorporated.
             Review Paperless Order denying in Part Ps'        0.20   0.00   EDR
             Emergency Motion to Compel Dr. Nearing's
             Deposition and to Extend the Deadline for
             Discovery and Dispositive Motions.
             Review Order Granting Appeal of Magistrate        0.20   0.00   EDR
             Judge Brown’s Order Denying Amended
             Motion to Compel, Requiring Magistrate
             Brown to Reconsider Ds’ Amended Motion to
             Compel and Requiring Ds' to File a Reply in
             Support of their Amended Motion.
             Review Defendants’ Amended Responses and          0.40   0.00   EDR
             Objections to Interrogatories 1,2, and 3 of
             Plaintiffs’ Second Set of Interrogatories.
             Review Defendants’ Amended Responses and          0.40   0.00   EDR
             Objections to Requests 2, 3, 4, 7, 11 and 13 of
             Plaintiffs’ Second Request for Production.

             Review S. Millor correspondence with              0.30   0.00   EDR
             attachments.
             Review e-mail to J. Hill.                         0.20   0.00   EDR

             Review e-mails regarding motion for               0.30   0.00   EDR
             extension.
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                                                    55
               Review Subpoena in a Civil Case for M.  0.20       0.00          EDR
               Salim.
             Review Order Affirming Magistrate Judge           0.20   0.00   EDR
             Brown's Supplemental Order Granting Motion
             for Confidentiality Order.

             Telephone conversation for Client with J. Hill.   4.80   0.00   EDR
             Research and prepare Emergency Motion for
             Deposition of Dr. Nearing.
Apr-18-09    E-Mail to J. Hill re Nearing documents.           0.20   0.00   EDR

Apr-19-09    Review e-mail from J. Hill re S. Millor.          0.20   0.00   EDR

             Review e-mail from J. Hill re Nearing.            0.20   0.00   EDR

Apr-20-09    E-Mail exchange with S Millor re Perales non-     0.30   0.00   EDR
             attendance at mediation.
             Review Ds’ Unopposed Motion to Excuse             0.20   0.00   EDR
             Perales from Attending Mediation in Person.
             Review DE 109 Paperless Order Granting Ds’        0.20   0.00   EDR
             Unopposed Motion to Excuse Perales from
             Attending Mediation.

             Review e-mails from S. Millor re Ds'              0.40   0.00   EDR
             Amended Responses & Objections to Requests
             2, 3, 4, 7, 11, and 13 of Ps' 2nd RFP with
             attachments.
             Review e-mail from J. Hill re "revilla".          0.10   0.00   EDR

             Review e-mail from J. Hill re experts.            0.20   0.00   EDR

             Review e-mail from J. Hill re Patrick Hoyles      0.20   0.00   EDR
             records.
             Review e-mail from J. Hill re disclosures.        0.20   0.00   EDR

Apr-21-09    Review Re-Notice of Mediation.                    0.20   0.00   EDR

             Review Order Denying in Part Emergency            0.20   0.00   EDR
             Motion to Compel.
             Review e-mail from J. Hill re Ds' information.    2.00   0.00   EDR

             Review e-mail from S. Millor re new               0.20   0.00   EDR
             mediation date.
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                                                      55
               Review e-mails from J. Hill re Motion to  0.20     0.00          EDR
               Compel.
             Review e-mails between J. Hill and S. Millor    0.20   0.00     EDR
             re Ps' Motion to Extend Time for Experts
             Reports.

             Review e-mail from S. Millor re Motion to       0.10   0.00     EDR
             Compel.
Apr-22-09    Prepare Pleadings: Ps' First Amended            0.30   0.00     EDR
             Emergency Motion to Compel Dr. Nearing's
             Deposition and to Extend the Deadline for the
             taking of said deposition with memorandum of
             Law Incorporated.
             Review R. DeClerk e-mail re leave time.         0.20   0.00     EDR

             Review facsimile from M. Nearing.               0.20   0.00     EDR

             Review e-mail from S. Binhak re confirmation    0.20   0.00     EDR
             of mediation.
             Review, research, discuss & finalize with J.    0.20   0.00     EDR
             Hill Ps Renewed Motion to Extend Time for
             Experts' Reports
             E-Mails to and from J. Hill and M. Gundrum      0.60   0.00      BIS
             re discovery with attachments.
Apr-23-09    Review DE 114, Clerk's Notice.                  0.10   0.00     EDR

             E-Mails to and from J. Hill and M. Gundrum      0.40   0.00      BIS
             re discovery documents.
Apr-24-09    Review Ds' Notice of Filing Confidentiality     0.20   0.00     EDR
             Order with attachment.
             Review Ds' Reply in Support of Their            0.20   0.00     EDR
             Amended Motion to Compel.
             Review Order Denying Amended Emergency          0.20   0.00     EDR
             Motion to Compel.
             E-Mails to and from J. Hill and M. Gundrum      1.20   0.00      BIS
             re Motion for Summary Judgment and related
             exhibits.
Apr-27-09    E-Mail exchanges with J. Hill re Summary        0.40   0.00     EDR
             Judgment and Statement of Facts.
             E-Mail exchange with J. Hill re IBM             0.20   0.00     EDR
             documents.
             Review Ps' Motion for Summary Judgment.         2.10   0.00     EDR
             Telephone conversation with J. Hill.
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                                                    55
               Review e-mail from J. Hill re Summary   0.40       0.00          EDR
               Judgment and Statement of Facts.
             Review e-mail from J Hill re Ps' W-2's           0.20   0.00    EDR
             marked attorneys eyes only.
             Review e-mail from J. Hill re Ramos and          0.20   0.00    EDR
             Castro W-2's. Reply to counsel.
             Format Ps' Statement of Facts, work on all       6.50   0.00     BIS
             exhibits for same, e-mail to and from J. Hill.
Apr-28-09    Review Subpoena in Civil Case for M. Salim.      0.20   0.00    EDR

             Review e-mails from J Hill re IBM records.       0.20   0.00    EDR

             Review DE 119 and DE 120 re sealed               0.20   0.00    EDR
             transmissions.
Apr-29-09    Review e-mail from J. Hill re filed              0.10   0.00    EDR
             translations.
Apr-30-09    Review Ds' Response to Ps' Second Motion to      0.40   0.00    EDR
             Compel and Motion for Contempt.
             Review CM/ECF Transmittal re Sealed              0.10   0.00    EDR
             Document, DE 121.
             Review S. Millor correspondence with             0.50   0.00    EDR
             attachment of documents bs 00735 to 00770.
             Review S. Millor e-mail re additional            0.10   0.00    EDR
             production.
             Review e-mail from J. Hill re 'their Summary     0.10   0.00    EDR
             Judgment'.
             Review e-mail from J. Hill re W-2's.             0.20   0.00    EDR

             Review Ds' Miami School Records, Ds' Fl          0.60   0.00    EDR
             Dept of Revenue and Debit statements.
             Telephone conversation with Client Telephone     0.30   0.00    EDR
             conversations with J. Hill re motion for
             summary judgment and sealed documents.
             Document Scan for exhibits.                      0.30   0.00     BIS

             Document Preparation: Update General             0.30   0.00    DMS
             Binder with b.s. 000731-779.
May-01-09    Review J. Henneberg e-mail re mediation.         0.20   0.00    EDR

             Review e-mail from S. Binhak.                    0.20   0.00    EDR
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                                                        55
               E-Mail to J. Hill and M. Gundrum re deadline    0.10 0.00          BIS
               to file Ps' Reply to Ds' Response to Ps' Second
               Motion to Compel and Motion for Contempt.
May-04-09    Attend mediation, including travel time and      5.50   0.00    EDR
             post meeting with counsel and clients.
             Telephone conversations with F. Fernandez re     0.20   0.00     BIS
             document DE-120.
May-07-09    E-Mails to and from J. Hill re cell phone        0.60   0.00     BIS
             records.
May-08-09    Review Second Order Denying Amended              0.20   0.00    EDR
             Motion to Compel.
             Review e-mail from assistant re Motion of        0.20   0.00    EDR
             Contempt.
             E-Mail exchange with J. Hill re Motion for       0.40   0.00     BIS
             Contempt.
May-10-09    Research for Ps' Reply to Ds' Response to Ps'    0.90   0.00    EDR
             Second Motion to Compel and Motion for
             Contempt.

May-11-09    Prepare Pleadings: Ps’ Reply to Ds’ Response     4.00   0.00    EDR
             to Ps’ Second Motion to Compel and Motion
             for Contempt.
             Review Motion for Protective Order and           0.20   0.00    EDR
             Response to Ps' Emergency Motion to Compel
             Dr. Nearings Deposition.
             Review Notice Withdrawing Motion for             0.20   0.00    EDR
             Protective Order.
May-12-09    Review DE 127, Paperless Clerk’s Notice of       0.10   0.00    EDR
             Docket Correction.
May-13-09    Review Order Granting in Part Plaintiffs'        0.20   0.00    EDR
             Renewed Motion to Extend Time for Experts'
             Reports.
May-14-09    Review Ds’ Response in Opposition to Ps’         0.70   0.00    EDR
             Motion for Partial Summary Judgment.
             E-Mail exchange with J. Hill re demand letter.   0.20   0.00     BIS

             Review e-mail from mediator regarding            0.20   0.00     BIS
             charges.
May-15-09    Review CM/ECF Transmittal regarding DE           0.20   0.00    EDR
             130 Withdrawal of Motion by Ramos.
             Review Order re: Ds' Motion to Dismiss P         0.30   0.00    EDR
             Ramos' Supplemental Complaint.
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                                                   55
               Review DE 133, Paperless Order denying as 0.20     0.00          EDR
               moot Motion to Strike.
             Review CM/ECF Transmittal re Withdrawal of     0.20   0.00      EDR
             Motion by Ramos.
             Review Order re: Ps’ Second Motion to          0.20   0.00      EDR
             Compel.
May-17-09    Review e-mail exchanges with J. Hill and M.    0.20   0.00      EDR
             Gundrum re meeting.
May-19-09    E-Mail to J. Hill and M. Gundrum re meeting    0.20   0.00       BIS
             on issues.
May-20-09    Review e-mail from S. Binhak.                  0.20   0.00      EDR

May-21-09    Review Ds' offer of judgments to Maco Castro   0.50   0.00      EDR
             and Ramos.
             Review Ds’ Answer, Defenses & Affirmative      0.30   0.00      EDR
             Defenses to P Ramos' Supplemental
             Complaint.
May-26-09    Prepare Pleadings: Review and revise Ps’       1.10   0.00      EDR
             Reply to Ds’ Response to Ps’ Motion for
             Summary Judgment and Ps’ Motion to Strike
             Ds’ Affidavits with J. Hill and M. Gundrum.
May-28-09    Review Ds' Amended Responses and               0.30   0.00      EDR
             Objections to Request 10 of Ps' Second
             Request for Production.

             Review S. Millor correspondence together       0.30   0.00      EDR
             with attachments.
             Review e-mail from S. Millor.                  0.20   0.00      EDR

May-29-09    Correspondence to S. Millor re discovery.      0.40   0.00      EDR

             Review documents and begin draft of trial      3.90   0.00      EDR
             exhibit list.
             Review e-mail from J. Hill re letter.          0.20   0.00      EDR

             E-Mail to J. Hill regarding discovery b.s.     0.20   0.00      DMS
             771-779.
May-30-09    Review e-mail from J. Hill re Ds' info.        0.20   0.00      EDR

Jun-01-09    E-Mail exchange with J. Hill re mediator.      0.30   0.00      EDR

             Review Ds’ Amended Responses and               0.30   0.00      EDR
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                                                    55
               Objections to ROGS 4,5,6,7,10, and 11 of Ps’
               Second Set of ROGS.
             Review Transmittal re Sealed Document (DE         0.20   0.00   EDR
             136)
             Review Order Granting Motion to Seal.             0.20   0.00   EDR

Jun-02-09    E-Mail exchange with J. Hill re Lake Tower's      0.30   0.00   EDR
             access records.
             Prepare Pleadings: Joint Stipulation.             1.10   0.00   EDR

Jun-03-09    E-Mail to J. Hill re Joint Stipulation.           0.20   0.00   EDR

             Revise and finalize Joint Pretrial Stipulation.   1.90   0.00   EDR

             Prepare Pleadings: Continue drafting Trial        1.30   0.00   EDR
             Exhibit List.
             Review e-mail from assistant re Jury              0.10   0.00   EDR
             Instructions.
Jun-04-09    Prepare Pleadings: Draft Second Amended           1.60   0.00   EDR
             Trial Witness List and review file regarding
             same.
             Review e-mail from assistant re Witness List.     0.10   0.00   EDR

             Review e-mail from M. Gundrum. Reply to           0.30   0.00   EDR
             same.
             Review S. Millor's correspondence.                0.20   0.00   EDR

             Review Order Granting Motion to Seal.             0.20   0.00   EDR

             Review Interrogatory responses as to              0.20   0.00   DMS
             witnesses.
Jun-06-09    E-Mail to J. Hill and M. Gundrum re Witness       0.30   0.00   EDR
             and Exhibit Lists for Trial.
Jun-08-09    E-Mail to J. Hill and M. Gundrum. Review          0.30   0.00   EDR
             replies.
             Review J. Hill's e-mail re court appointed        0.30   0.00   EDR
             interpreter. Discuss and review of same.
Jun-09-09    Review of Motion in Limine with J. Hill.          0.60   0.00   EDR

             Preparation and review of Ps' Motion for a        0.30   0.00   EDR
             Court Appointed Interpreter.
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                                                  55
               Review e-mail from M. Gundrum re counter 0.20      0.00          EDR
               offer.
Jun-10-09    Prepare Pleadings: Review, revise and             2.30   0.00   EDR
             continue first draft of Jury Instructions.
             Review Paperless Order denying Ps’ Motion         0.20   0.00   EDR
             for a Court-Appointed Interpreter (DE 140)
             Review Order Denying Ps' Motion in Limine.        0.20   0.00   EDR

             Review e-mail from J. Hill re demand Letter to    0.20   0.00   EDR
             IBM.
             Review e-mail from S. Millor and J. Hill re       0.30   0.00   EDR
             Joint Stipulation.
Jun-13-09    Review e-mail from J. Hill re discovery.          0.20   0.00   EDR

             Review e-mail from J. Hill re W-2's. Reply to     0.30   0.00   EDR
             same.
             Review J. Hill's e-mails re photos.               0.20   0.00    BIS

Jun-15-09    E-Mail exchange with J. Hill re Joint Pre-trial   0.30   0.00   EDR
             Stipulation and revisions.
             E-Mail exchange with S. Millor and J. Hill re     0.30   0.00   EDR
             redline revisions.
             Prepare Pleadings: Finalize Ps' Trial Exhibit     2.20   0.00   EDR
             List.
             Review e-mail from J. Hill re fees.               0.20   0.00   EDR

             Review e-mail from J. Hill re video.              0.20   0.00   EDR

Jun-16-09    E-Mail exchanges with S. Millor re redline        1.20   0.00   EDR
             revisions to the Joint Stipulation.
             E-Mail exchanges with S. Millor re Witness        0.40   0.00   EDR
             and Trial Exhibit Lists.
             Preparation of Joint Pretrial Stipulation.        0.70   0.00   EDR
             Telephone conversations with S. Millor.
             Review DE 143, Ds’ Corrected Trial Witness        0.20   0.00   EDR
             List.
             Review J. Hill's e-mails re after hours price     0.30   0.00    BIS
             list.
             Telephone conversation with Judge Martinez's      0.10   0.00    BIS
             judicial assistant regarding trial.
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                                                       55
               Telephone conversations with J. Hill re    0.30    0.00           BIS
               amending exhibits.
Jun-17-09    E-Mail exchange with J. Hill. regarding          0.30   0.00    EDR
             Witness Lists.
Jun-19-09    E-Mail exchanges re Verdict Form and Jury        0.30   0.00    EDR
             Instructions.
             Prepare Verdict Form and complete Jury           3.50   0.00    EDR
             Instructions.
             Review e-mail from J. Hill to S. Millor re       0.30   0.00    EDR
             information. Review Reply.
Jun-22-09    E-Mail exchange with J. Hill re Witness List.    0.30   0.00    EDR

             Review e-mail from J. Hill re financial          0.20   0.00    EDR
             discovery from Ds.
             Telephone call and e-mail to J. Hill and M.      0.30   0.00     BIS
             Gundrum re meeting on pretrial issues.
Jun-23-09    E-Mail to and from J. Hill re Ds' condominium    0.30   0.00     BIS
             documents.
Jun-25-09    E-Mail to J. Hill & M. Gundrum re Verdict        0.20   0.00    EDR
             Form and Jury Instructions.
             Review correspondence from FIAC Intern E.        0.10   0.00    EDR
             Sloop to S. Binhak and S. Millor re
             Confidentiality Agreement.
             Review e-mail from J. Hill with attachment.      0.30   0.00    EDR

             Review e-mail from J. Hill re probable           0.20   0.00    EDR
             witnesses.
             Review e-mail from M. Gundrum re charts.         0.30   0.00    EDR
             Reply to same.
             Telephone conversation with J. Hill re charts.   0.20   0.00     BIS

Jun-26-09    E-Mail exchanges re voir dire.                   0.30   0.00    EDR

             E-Mail exchanges re jury instructions.           0.30   0.00    EDR

             Prepare Voir Dire and research re same.          4.20   0.00    EDR

             Review e-mail from J. Hill re dates. Reply to    0.30   0.00    EDR
             same.
             Review e-mail from J. Hill re timeline.          0.20   0.00    EDR
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                                                      55
               Review e-mail from J. Hill with attachment re 0.30 0.00          EDR
               Condo Access Records.
             Review e-mail from J. Hill re daily schedules.    0.20   0.00   EDR

             Review e-mail from J. Hill re exhibits with       0.40   0.00   EDR
             attachments.
Jun-29-09    Review DE 144, D's Proposed Jury                  0.90   0.00   EDR
             Instructions.
             Review e-mail from M. Gundrum re exhibits         0.30   0.00   EDR
             with attachments.
             Review S. Millor e-mail re filing jointly.        0.30   0.00   EDR
             Reply to same.
             Review M. Gundrum's e-mails re voir dire.         0.30   0.00   EDR

             Review Civil Minutes Day 1.                       0.10   0.00   EDR

             Telephone calls and e-mail to J. Hill and M.      0.20   0.00    BIS
             Gundrum re proposed verdict form.
Jun-30-09    Review and revise voir dire.                      0.80   0.00   EDR

             Review Paperless Order Striking Proposed          0.20   0.00   EDR
             Jury Instructions (by D) DE 145
             Review S. Millor's e-mails re filing joint        0.40   0.00   EDR
             proposed jury instructions. Reply to same.
             Review J. Hill e-mail re proposed jury            0.20   0.00   EDR
             instructions.
             Review J. Hill e-mail re exhibits. Reply to       0.30   0.00   EDR
             same.
             Telephone conversations and e-mails with J.       0.30   0.00    BIS
             Hill and M. Gundrum re voir dire.
Jul-01-09    E-Mail to J. Hill re deposition designation.      0.30   0.00   EDR
             Review reply.
             Prepare Pleadings: Finalize Ps' Proposed Voir     0.70   0.00   EDR
             Dire.
             Review J. Hill e-mails re jury instructions and   0.20   0.00   EDR
             verdict form.
             Review Ds' Voir Dire filed with Court.            0.30   0.00   EDR

             E-Mail and telephone conversations with J.        0.40   0.00    BIS
             Hill re jury instructions.
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                                                       55
               Telephone conversation with J. Hill re draft 0.20  0.00           BIS
               jury instructions.
Jul-02-09    Review, discuss and complied Joint Jury            3.00   0.00   EDR
             Instructions and Verdict Forms.
             E-Mail and telephone conversations with J.         0.20   0.00   BIS
             Hill re verdict forms.
             Telephone conversations and e-mail to J. Hill      0.30   0.00   BIS
             re joining jury instructions.
Jul-07-09    Telephone conversation with Judge Martinez         0.10   0.00   BIS
             office re status of cases still on calendar call
             roster.

             Telephone conversations with J. Hill re            0.30   0.00   BIS
             meeting on status of case prior to trial.
Jul-08-09    Review J. Hill correspondence re intern's          0.20   0.00   EDR
             Confidentiality Agreement.
             E-Mail to and from J. Hill re subpoenas for        0.20   0.00   BIS
             trial.
Jul-09-09    Review J. Hill's e-mail re trial preparation.      0.20   0.00   EDR

             Telephone conversation with J. Hill and M.         0.90   0.00   EDR
             Gundrum for pretrial preparation.
             E-Mail to and from J. Hill re subpoenas.           0.10   0.00   BIS

Jul-10-09    Review J. Hill's e-mail re exhibits with           0.30   0.00   EDR
             attachment.
             E-Mails and telephone conversations with J.        0.40   0.00   BIS
             Hill re discovery from police and department
             of children and families.
             Prepare trial exhibit binders and corresponding    9.20   0.00   BIS
             documents and lists.
Jul-13-09    Prepare trial exhibit binders.                     8.60   0.00   BIS

Jul-14-09    Prepare trial exhibit binders.                     5.90   0.00   BIS

Jul-15-09    E-Mail to M. Gundrum re amended trial              0.20   0.00   BIS
             exhibit list with attachment.
             Prepare trial exhibit binders.                     7.10   0.00   BIS

             Telephone conversations with J. Hill re            0.30   0.00   BIS
             amended exhibit list.
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                                                      55
Jul-16-09      Attend calendar call. Includes pre and post 4.40   0.00          EDR
               conferences with co-counsel.
             Prepare Pleadings: Ps' First Amended Trial       0.30   0.00    EDR
             Exhibit List.
             Prepare Pleadings: Subpoena in a Civil Case.     0.20   0.00    EDR

             Review Order Granting in Part and Denying in     0.50   0.00    EDR
             Part Ps’ Partial Motion for SJ and Denying Ps
             Motion to Strike.

             Review Civil Minutes Calendar Call (DE 151)      0.10   0.00    EDR

             E-Mail to J. Hill re trial subpoenas with        0.20   0.00     BIS
             attachment.
             Prepare trial exhibit binders.                   7.70   0.00     BIS

             Review e-mail from J. Hill re amended exhibit    0.20   0.00     BIS
             list.
             Review e-mail from M. Gundrun re translator      0.20   0.00     BIS
             for trial.
Jul-17-09    E-Mail to J. Hill and M. Gundrum re jury         0.20   0.00    EDR
             instructions.
             Preparation: Trial.                              7.50   0.00    EDR

             Review J. Hill's e-mails re exhibits and jury    0.30   0.00    EDR
             instructions with attachment.
             E-Mail and telephone conversation with J. Hill   0.30   0.00     BIS
             re DVD for trial.
Jul-20-09    Preparation: Begin review of Trial Exhibit       6.00   0.00    EDR
             Binders.
Jul-21-09    Preparation: Review Trial Exhibits Binder        5.00   0.00    EDR
             (Vol 2)
             Preparation: Begin drafting Opening              2.00   0.00    EDR
             Statement.
             Review J. Hill's e-mail requestion. Reply to     0.30   0.00    EDR
             same.
             Review J. Hill's e-mails re jury instructions    0.20   0.00    EDR
             and verdict forms.
             Prepare Perales and Ramos' exhibits and          4.30   0.00     BIS
             photocopy of same.
Jul-22-09    Preparation: Review of Hoyle's Exhibit List      4.30   0.00    EDR
             Binder.
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                                                      55
               Preparation: Review Perales' Exhibit List 3.20     0.00          EDR
               Binder.
             Prepare Pleadings: Ps’ 2nd Amended Trial       0.30   0.00      EDR
             Exhibit List
             Prepare Claudia Matas, Lake Tower, Cordero,    3.80   0.00       BIS
             Cahua and Maco exhibits and photocopy same.
Jul-23-09    Preparation: Review Castro Exhibit List        2.70   0.00      EDR
             Binder.
             Finalize Opening Statement.                    4.40   0.00      EDR

             Review J. Hill's e-mail re Ramos chart with    0.30   0.00      EDR
             attachment.
             Review J. Hill's e-mail re Ramos & Castro's    0.30   0.00      EDR
             chart with attachment.
             Telephone conversation with J. Hill re cross   0.10   0.00       BIS
             examination of witnesses.
             Telephone conversation with S. Dimond re       0.20   0.00       BIS
             trial witness L. Cordero.
Jul-24-09    Preparation: Review Ramos' Exhibit List        4.80   0.00      EDR
             Binder and prepare for trial.
             Begin drafting of Closing Statement.           2.40   0.00      EDR

             Review Order Resetting Trial Date.             0.20   0.00      EDR

             Review J. Hill e-mail re Claudia Matas chart   0.30   0.00      EDR
             with attachment.
             E-Mail to S. Dimond re trial witness L.        0.20   0.00       BIS
             Cordero with attachment.
             Telephone conversation with J. Hill re         0.20   0.00       BIS
             witnesses for trial.
Jul-25-09    Review J. Hill's e-mail re J. Cahua with       0.30   0.00      EDR
             attachment.
Jul-26-09    Review J. Hill's e-mails re L. Cordero and     0.30   0.00      EDR
             exhibits with attachment.
Jul-27-09    Preparation; Review Cordero, Lake Tower and    6.70   0.00      EDR
             Claudia Matas Exhibits.
             Preparation for Trial.                         4.30   0.00      EDR

             Prepare Pleadings: Ps' Third Amended Trial     0.30   0.00      EDR
             Exhibit List.
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                                                     55
               Review Joint Jury Instructions and Verdict 1.00    0.00          EDR
               Forms.
             Review J. Hill's e-mails re Hoyle and condo           0.30   0.00   EDR
             access records with attachment.
             Review M. Gundrum's e-mail re exhibits.               0.30   0.00   EDR
             Reply to same.
             Review M. Gundrum's e-mail re meeting.                0.20   0.00   EDR

             Review J. Hill e-mails re AT&T.                       0.30   0.00   EDR

             E-Mails and telephone conversations with S.           0.70   0.00   BIS
             Millor re exhibits for trial.
             E-Mails and telephone conversations with J.           0.30   0.00   BIS
             Hill re Ps' exhibits provided to opposing
             counsel.

             Prepare additional exhibits for trial. Email and      1.10   0.00   BIS
             telephone conversations with M. Gundrum and
             J. Hill re amended exhibit list.
             Work on damages matrix; e-mails and                   2.20   0.00   BIS
             telephone conversations with L. Sobel -
             Saurian Trial Graphics.
             Revise and finalize trial witness binders;            4.70   0.00   BIS
             organize exhibits for questioning of witnesses.
Jul-28-09    E-Mail to S. Millor re exhibits. Review reply.        0.30   0.00   EDR

             E-Mail to J. Hill and M. Gundrum re opening           0.20   0.00   EDR
             statement.
             Review Affidavit of Service for R/C Lake              0.20   0.00   EDR
             Tower.
             Review Ds' Motion for Reconsideration of the          0.20   0.00   EDR
             Court's 7/16/09 Order.
             Review Ds' Motion in Limine.                          0.20   0.00   EDR

             Review e-mail from J. Hill re cell phone bill         0.20   0.00   EDR
             exhibits.
             Preparation for trial and telephone conference       17.20   0.00   EDR
             with J. Hill and M. Gundrum.
             E-Mail to and from S. Millor re trial exhibits        1.70   0.00   BIS
             with attachments.
             Preparation for trial including updating of trial    13.20   0.00   BIS
             exhibit lists and binders, trial witness lists and
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                                                          55
               binders, trial witness matrix, trial calendar
               matrix, damages calculations and working
               with L. Sobel regarding trial damages chart.
             Document Preparation: Reduced file size for         0.30   0.00   DMS
             Lake Tower and forward via e-mail to S.
             Millor per her request.

             Document Preparation: Reduced file of AT&T          0.20   0.00   DMS
             and forward via S. Millor.
Jul-29-09    Review Order Denying Without Prejudice Ds’          0.20   0.00   EDR
             Motion in Limine.
             Review DE 159 Paperless Order denying               0.20   0.00   EDR
             Motion for Reconsideration.
             Review J. Hill's e-mails re Oneila with             0.40   0.00   EDR
             attachments.
             Review Civil Trial Minutes Day 1                    0.10   0.00   EDR

             Review e-mail from L. Sobel re Damages              0.20   0.00   EDR
             Chart.
             Trial. Pre and post preparation.                   15.80   0.00   EDR

             E-Mail to and from S. Millor regarding trial        0.30   0.00   BIS
             exhibits with attachments.
             Trial. Pre and post preparation including travel   11.10   0.00   BIS
             time.
Jul-30-09    Review Civil Trial Minutes Day 2.                   0.10   0.00   EDR

             Review Errata sheet to L. Cordero's                 0.50   0.00   EDR
             deposition.
             Review e-mail from J. Hill re Hoyle.                0.20   0.00   EDR

             Review e-mail from M. Gundrum re Cordero.           0.20   0.00   EDR

             Trial. Pre and post preparation.                   16.50   0.00   EDR

             Trial. Pre and post preparation including travel   10.70   0.00   BIS
             time.
Jul-31-09    Review Civil Trial Minutes Day 3.                   0.10   0.00   EDR

             Trial. Pre and post preparation.                   16.80   0.00   EDR

             Trial. Pre and post preparation including travel   11.30   0.00   BIS
             time.
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                                                        55
Aug-01-09      Review J. Hill's e-mail re translations. Reply 0.30 0.00         EDR
               to same.
Aug-02-09    Review J. Hill's e-mail re Monday's translator.     0.30   0.00   EDR
             Reply to same.
Aug-03-09    Review Civil trial minutes for day 4.               0.10   0.00   EDR

             Review e-mail from L. Sobel re Damages              0.20   0.00   EDR
             Chart.
             Review e-mail from T. Galloni.                      0.20   0.00   EDR

             Trial. Pre and post preparation including travel   11.60   0.00   EDR
             time.
             Trial. Pre and post preparation including travel    8.70   0.00   BIS
             time.
Aug-04-09    E-Mail to J. Hill and M. Gundrum re Jury            0.30   0.00   EDR
             Instructions and Jury Form.
             Review Civil Trial Minutes (DE 164)                 0.10   0.00   EDR

             Review DE 165, Civil trial Minutes Day 5.           0.10   0.00   EDR

             Trial. Pre and post preparation including travel    9.60   0.00   EDR
             time.
             Trial. Pre and post preparation including travel   10.90   0.00   BIS
             time.
             Telephone conversations with L. Sobel               0.30   0.00   DMS
             regarding chart.
Aug-05-09    Trial. Pre and post preparation including travel    9.80   0.00   EDR
             time.
             Trial. Pre and post preparation including travel    8.40   0.00   BIS
             time.
Aug-06-09    Review DE 166, Civil Trial Minutes, Day 6.          0.10   0.00   EDR

             Review DE 167, Civil trial Minutes Day 7.           0.10   0.00   EDR

             Trial. Pre and Post preparation.                    8.50   0.00   EDR

Aug-07-09    Review DE 168, Civil trial Minutes Day 8.           0.10   0.00   EDR

             Review e-mail from S. Barciela. Reply to            0.20   0.00   EDR
             same.
             Trial.                                              8.30   0.00   EDR
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                                            55


Aug-09-09    Review e-mail from J. Hill.                        0.20   0.00   EDR

Aug-10-09    E-Mail exchanges with S. Barciela.                 0.40   0.00   EDR

             Research liquidated damages issue post trial       1.40   0.00   EDR
             and begin drafting Motion for Liquidated
             Damages.
             Review DE 174, Final Judgment.                     0.20   0.00   EDR

             Review e-mails from S. Barciela and J. Hill re     0.30   0.00   EDR
             availability of Ramos and Castro.
Aug-12-09    Review e-mails from J. Hill re Preuvian            0.30   0.00   EDR
             nannies.
Aug-13-09    E-Mail to J. Hill and M. Gundrum re Motion         0.20   0.00   EDR
             for Liquidated Damages.
Aug-14-09    Prepare Pleadings: Motion for Liquidated           3.10   0.00   EDR
             Damages.
             Research Motion for Liquidated Damages             0.90   0.00   EDR
             issue.
             Review e-mail from S. Barciela.                    0.10   0.00   EDR

             E-Mail to Judge Martinez re proposed order         0.10   0.00   BIS
             for liquidated damages with attachment.
             Telephone conversation with Judge Martinez's       0.20   0.00   BIS
             office re email of proposed order for liquidated
             damages.
Aug-17-09    Review e-mail from L. Sobel.                       0.10   0.00   EDR

Aug-21-09    E-Mail to J. Hill and M. Gundrum re Motion         0.20   0.00   EDR
             for Attorney Fees and Costs.
Aug-24-09    Prepare Pleadings: Motion for Attorneys' Fees.     5.40   0.00   EDR
              Research attorneys' fees issues. Begin
             drafting affidavit to go with Motion.
             Review Ds' Motion to Amend Final Judgment.         0.30   0.00   EDR

             Review e-mail from M. Gundrum with                 0.20   0.00   EDR
             attachments.
Aug-25-09    E-Mail exchange with J. Hill re fee Petition.      0.30   0.00   EDR
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                                                     55
Aug-26-09      Review e-mails from S. Barciela re case. 0.20      0.00          EDR

             Review e-mails from J. Hill and M. Gundrum.     0.30         0.00          EDR

             E-Mail to J. Hill and M. Gundrum with           0.20         0.00          DMS
             attachment.
Aug-27-09    Review e-mail from M. Gundrum re fee            0.20         0.00          EDR
             affidavit.
             Teleconference with J. Hill and M. Gundrum.     0.50         0.00          EDR
                                                                  ___________
             Totals                                        835.70        $0.00
                                                                                 ___________
             Total Fees & Disbursements                                                 $0.00

             Previous Balance                                                           $0.00
             Previous Payments                                                          $0.00
                                                                                 ___________
             Balance Due Now                                                            $0.00
